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        The certification of Electoral College votes for the state of Arizona is unsealed during a joint session of
        the House and Senate convenes to confirm the electoral votes cast in November's election, at the Capitol,
        Jan 6, 2021. (AP Photo/Andrew Harnik, File)


        PHOENIX - Arizona’s top prosecutor is ramping up a criminal investigation into
        alleged attempts by Republicans to overturn the 2020 presidential election results in
        the state by signing and transmitting paperwork falsely declaring Donald Trump the
        winner, according to two people familiar with the investigation.

        Arizona Attorney General Kris Mayes (D) assigned a team of prosecutors to the case
        in May, and investigators have contacted many of the pro-Trump electors and their
        lawyers, according to the two people who spoke on the condition of anonymity to
        candidly describe the probe. Investigators have requested records and other
        information from local officials who administered the 2020 election, the two people
        said, and a prosecutor has inquired about evidence collected by the Justice

        Department and an Atlanta-area prosecutor for similar probes.
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        Department and an Atlanta-area prosecutor for similar probes.

        It is unclear if the investigation will broaden into other attempts to undermine
        President Biden’s victory in the state, including a pressure campaign by Trump and
        his allies to thwart the will of voters and remain in office.

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        Dan Barr, Mayes’s chief deputy, said the investigation is in the “fact-gathering” phase.
        He declined to say whether subpoenas have been issued and which state statutes the
        team thinks might have been broken.

        “This is something we’re not going to go into thinking, ‘Maybe we’ll get a conviction,’
        or ‘Maybe we have a pretty good chance,’” he said. “This has to be ironclad shut.”

        This is one of several investigations into attempts to overturn the election results.
        There is a federal criminal probe being led by special counsel Jack Smith, who was
        appointed by Attorney General Merrick Garland to examine the sprawling efforts in


        several states intended to reverse Trump’s loss.
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        several states intended to reverse Trump’s loss.

        Smith’s team has interviewed and subpoenaed about a dozen Arizonans. In Georgia,
        Fulton County District Attorney Fani T. Willis (D) has spent more than two years
        investigating efforts by Trump and others to overturn his narrow loss in the state,
        and she is expected to announce a charging decision this summer.

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        Both of those investigations are much more sprawling in scope and further along
        than the new one in Arizona.

        Mayes campaigned during the 2022 midterm election on a pledge to investigate the
        22 Republicans who signed two sets of documents claiming to be the state’s chosen
        electors for Trump in the electoral college, despite his loss. One set was signed by the
        state party chair and other high-profile Republicans, while the other involved party
        activists. Shortly after taking office in January, Mayes said that her office had
        launched a probe - but for several months there were no outward signs of an inquiry.

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        Mayes declined to comment Wednesday. In an interview in February, she said her
        administration was in the “very, very” early phase of reviewing information about the
        elector activities but wouldn’t discuss details about a coming probe.

        “There has to be a deterrent to this happening again,” she said. “We can’t have this
        occurring again in Arizona - or in the country.”

        Prosecutors at the local, state and federal levels have grappled with the question of
        whether the elector scheme violated the law and, if so, whether it would be best to
        pursue it state-by-state or at the federal level.

        In January 2022, Democratic state attorneys general in Michigan, New Mexico and
        Wisconsin referred information about the elector scheme to the Justice Department,
        indicating that they believed the effort was coordinated by the Trump campaign
        nationally and would be best investigated by federal authorities. Those referrals
        ultimately resulted in the Justice Department probe now led by Smith.

        But in Georgia, an investigation of whether the elector effort and other actions by
        Trump after the 2020 election broke state law has been ongoing. The district
        attorney has offered some form of immunity to 12 of the 16 electors, according to


        three people with knowledge of the investigation.
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        three people with knowledge of the investigation.

        The activity in Arizona represents a new attempt to tackle the issue at the state level,
        as Mayes explores whether Arizona law was violated.

        In the aftermath of the 2020 presidential election, Arizona became a centerpiece of
        Trump’s unfounded accusations of widespread voter fraud. Republican candidates
        for president traditionally win Arizona, and Biden was the first Democrat to win the
        state in 24 years.

        Trump and his allies tried to pressure state and local officials to employ strategies to
        help him stay in power. Election officials and others in the state faced violent threats
        and harassment. In 2021, the GOP-controlled state Senate commissioned a
        taxpayer-funded review by a firm with no election auditing experience that
        confirmed Biden’s win.

        Continued denial of the election results became central to the campaigns of nearly
        every major Republican candidate in the midterm election, including gubernatorial
        candidate Kari Lake. Many Democratic candidates campaigned on a promise of
        restoring democracy and unexpectedly swept key races. Now in control of most
        major statewide offices, they have an opportunity to hold Republicans accountable
        for their actions after the 2020 election.

        Mayes’s Republican predecessor, Mark Brnovich, did not pursue an investigation into
        the efforts to use invalid Trump electors. He said at the time that information about
        the elector efforts should be provided to federal investigators and his special unit
        created to crack down on illegal voting and other election-related crimes instead dug
        into conspiracies.

        Alexander Kolodin, an attorney representing some of the Republicans who were


        Trump’s electors, declined to comment. The electors who were part of a pro-Trump
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        Trump’s electors, declined to comment. The electors who were part of a pro-Trump
        slate promoted by the state party either declined to comment or did not respond.
        Most of the electors from the second slate could not be reached for comment or
        declined to comment. One person from that slate said Wednesday that the group
        “didn’t even fully understand what that paperwork was for.” He declined to explain
        how that effort came together.

        The electors have said little about their activities, which were intensely scrutinized in
        the aftermath of the Jan. 6, 2021, insurrection at the U.S. Capitol. Kolodin argued in
        an August 2022 court filing that Trump electors simply created a backup plan in case
        legal challenges to Arizona’s outcome were successful. The filing was part of a lawsuit
        seeking to prevent the U.S. House committee investigating Jan. 6 from accessing
        cellphone records of Kelli Ward, an elector who was the Arizona GOP chair. Ward did
        not respond to a request for comment.

        “Their beliefs and the actions they took were no secret,” the filing said. “Their vote
        was posted on YouTube and Dr. Kelli Ward wrote a book about it.

        “The connection between that action, which took place on December 14, 2020, and
        the riot at the Capitol on January 6, is far from obvious,” the filing said.

        Experts in Arizona’s election law said state law doesn’t specifically address a
        competing elector scenario, but prosecutors may try to build a case around state
        statutes ranging from fraud to forgery to conspiracy, or offering a document to a
        government office that has been falsely made, or contains false information.
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        A successful case could hinge on the state of mind of the electors, two Arizona
        criminal defense attorneys said.

        “You’re going to have to have some meat on the bones and show there is some
        evidence of intent,” said Ashley Adams, a criminal defense attorney and former
        federal prosecutor.

        Tim Eckstein, a criminal defense lawyer who has worked on election-related cases,
        said the argument at the time by some Republicans that the state legislature had the
        constitutional authority to name the electors could complicate a criminal case.

        “The very bottom line is you don’t want to criminalize conduct that wasn’t clearly
        criminal at the time somebody engaged in it,” he said.

        Republicans in seven states that Trump lost in 2020 have said they wanted the pro-
        Trump elector slates in place to compete with official slates for Biden in case election
        outcomes were somehow changed on or before Jan. 6, 2021, when Congress met to
        affirm Biden’s win.

        After Trump’s defeat, Arizona Republicans mounted legal fights as they sought to
        overturn Trump’s loss. Among them was a lawsuit filed by the Trump electors in U.S.


        District Court in Arizona that alleged widespread fraud and argued that the state had
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        District Court in Arizona that alleged widespread fraud and argued that the state had
        the authority to choose its electors by other means.

        With those challenges underway, representatives for Trump’s campaign called an
        Arizona Republican in early December 2020 and proposed assembling an alternate
        slate of electors on Dec. 14, 2020, the day the electoral college formally convened,
        according to a person familiar with the conversation, who spoke on the condition of
        anonymity for fear of retribution.

        During one conversation, which has not been previously reported, the campaign
        representatives described the plan as a legal maneuver to keep alive Trump’s
        prospects for a second term, the person said. A spokesman for Trump has not
        responded to a request for comment.
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        “It came out of the blue,” the person said of the call. “This was to show [Trump] that
        everyone was doing everything they could.”

        Days later, Trump’s electors in Arizona and in other states followed-through on the
        plan.

        In Phoenix, the electors gathered at the state party’s headquarters for a signing
        ceremony. The party publicized the event on Twitter, writing, “The Signing.”

        Another group that called itself “The Sovereign Citizens of the Great State of
        Arizona” sent signed and notarized certifications declaring themselves the state’s
        electors to the National Archives and the Arizona secretary of state’s office. Katie
        Hobbs, then the secretary of state, asked the state attorney general’s office to
        investigate that group’s use of the state seal without authorization. No inquiry
        publicly materialized. Mayes told The Washington Post in February that the statute


        of limitations had passed on misuse of the state seal. Those familiar with the current
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        of limitations had passed on misuse of the state seal. Those familiar with the current
        investigation said that the group may have violated other statutes.

        Aside from the elector probe, the state prosecutor has weighed scrutinizing other
        efforts to delegitimize Trump’s loss, a person familiar with the office’s discussions
        said.

        “When you start investigating one thing, you find out stuff about another,” the person
        said. “No one is foreclosing anything.”

        ---

        The Washington Post’s Josh Dawsey contributed to this report.



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Exhibit 2: The following is a link to “The Buckmaster Show” saved in MP3 audio format:

Ex 2 The Buckmaster Show.mp3



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                                                                   June 24, 2024



             Re: Arizona v. Lamon, CR2024-006850-006

I have been asked to provide my views on the issues raised in the
Anti-Slapp Motion filed by Mr. Lamon. I do so below.

My qualifications

1.    I am the Roy L. Furman Professor of Law and Leadership at
      Harvard Law School. I have been teaching law, and specifically,
      constitutional law, for more than 30 years. I am the author of
      many academic works addressing the election of the president
      and presidential power. I have litigated numerous cases about
      the Electoral College and the power of presidential electors. I
      am the co-author (with Matthew Seligman) of How To Steal A
      Presidential Election (Yale Press 2024). My CV is attached as
      Exhibit A.




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Procedural History of Arizona Election

2.    The results of the 2020 presidential election in Arizona were
      close and hotly contested. Joe Biden won the popular vote by
      about 10,000 votes out of 3.3 million votes cast.

3.    The chair of the Arizona Republican Party, challenged those
      results on several grounds, including the claim that certain
      duplicated ballots did not accurately reflect the voter’s apparent
      intent as reflected on the original ballot. Though the Superior
      Court found the testimony “credible” and “corroborated by the
      review of the 1,626 duplicate ballots,” the judge declined to
      permit further review, believing the Electoral Count Act
      required resolution of election claims six days before the day
      presidential electors were to vote (“Electors Day”).

4.    In the Arizona Supreme Court, the Arizona Republican Party
      Chair challenged the holding that the Electoral Count Act
      required resolution of any contest six days before Electors Day.
      The Arizona Supreme Court found the alleged errors not
      substantial enough to change the results. It, therefore, declined
      to consider whether the Electoral Count Act required the
      resolution of election disputes six days before Electors Day.

5.    On December 11, 2020, three days before Electors Day, the
      Arizona Republican Party Chair filed certiorari to the United
      States Supreme Court, challenging the Superior Court’s
      determination that election disputes must be resolved six days


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      before Electors Day. The U.S. Supreme Court denied the
      petition on February 22, 2001. Ward v. Jackson, 141 S.Ct 1381
      (2021).

6.    Based on the evidence of tabulation errors presented to the
      Superior Court, the Arizona Republican Party Chair apparently
      believed that had a recount of the duplicated ballots been
      permitted, as well as a recount of other “adjudicated” ballots,
      the results in Arizona could have been reversed.

7.    Subsequent recounts completed after President Biden’s election
      had been confirmed by Congress found no errors sufficiently
      substantial to reverse the Arizona results.

8.    You have asked for my opinion about whether the Republican
      Electors were privileged to meet and cast their ballots on
      Electors Day 2020 without fear of criminal liability.

9.    I have agreed to offer you this opinion without compensation.

The Role of Contingent Electors Under the Constitution

10.   Under Article II of the Constitution and the 12th Amendment,
      the President and Vice President are to be elected by the vote of
      presidential electors, so long as a majority of electors supports
      each candidate. If a majority does not support the election of
      the President, the choice moves “immediately” to the House of
      Representatives.




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11.   Three dates determine this process. The Constitution expressly
      gives Congress the power to decide when Electors are
      appointed. It also expressly gives Congress the power to decide
      when Electors cast their ballot. Congress has exercised the
      power to specify by statute when electoral votes shall be
      counted.

12.   Congress has determined that electors shall be appointed on
      “the Tuesday next after the first Monday in November”
      (“Election Day”). It has determined that electors shall cast their
      ballot “on the first Tuesday after the second Wednesday in
      December next following their appointment” (“Electors Day”).
      And Congress has set January 6 as the day when electoral votes
      are to be counted.

13.   Since at least 1876, it has been clear that election contests may
      well not be resolved by Electors Day, and that even after
      Electors Day, multiple slates of electors might be sent to
      Congress. In 1876, that is precisely what happened. Contests in
      Florida, Louisiana, Oregon, and South Carolina resulted in
      electors from both parties meeting and voting on Electors Day;
      those multiple slates were then sent to Congress. Congress
      determined to resolve the contest within each state by
      appointing a commission to review claims supporting each slate.
      By a single vote, that commission ruled in favor of the
      Republican slate in each state, resulting in the election of
      Rutherford B. Hayes by a single electoral vote.

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14.   That conflict led Congress to adopt a statutory scheme to
      address elections in which multiple slates of electors are
      presented by a state. The Electoral Count Act of 1887 (“ECA”)
      specified a complicated scheme for determining which slate of
      electors is to be counted, depending upon (a) whether the state
      had a process for contesting election results, (b) if it did, when
      that contest was resolved, (c) whether there were competing
      authorities certifying different slates, or (d) whether there was
      no authority for determining finally which slate should count.

15.   To enable its mechanism to work, the ECA expressly obligated
      the President of the Senate to open “all the certificates and
      papers purporting to be certificates of the electoral votes” (emphasis
      added).

16.   The law thus presumed that there would continue to be cases in
      which multiple slates of electors would be presented to
      Congress.

17.   The law thus also presumed that the electors whose votes were
      recorded in those multiple slates would have met on Electors
      Day and cast ballots for their candidate, despite, at most, only
      half being properly certified at the time they voted.

18.   The ECA thus plainly contemplated electors meeting on
      Electors Day and casting their ballots for President and Vice
      President without having been properly certified under state
      law.

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19.   In meeting and voting, presidential electors perform a “federal
      function.” Ray v. Blair, 343 U.S. 214, 224 (1952). It is
      foundational to American constitutional law that no state may
      substantively interfere with the performance of a federal
      function. The state cannot prohibit electors from meeting; it
      cannot punish them for meeting and casting their ballots.

20.   Since 1887 and before 2020, there has been only one election
      where multiple slates were genuinely presented to Congress. In
      1960, Hawaii’s vote was originally determined to favor Richard
      Nixon. That result was challenged. However, the recount of the
      Hawaii ballots could not be completed before Electors Day. To
      ensure that they met the constitutional requirement that votes
      be cast on the same day, electors for both John Kennedy and
      Richard Nixon met on Electors Day and cast their ballots for
      their respective candidates. When the recount was completed,
      Kennedy was determined to have been the winner. Papers
      certifying this result were then immediately sent to Capitol
      Hill.

21.   On January 6, 1961, Richard Nixon, as President of the Senate,
      noted that there were three sets of “papers purporting to be
      certificates of the electoral votes” — the votes of Republican
      electors, with their original certificate of ascertainment, the
      votes of Democratic electors with no certificate of
      ascertainment, and a corrected certificate of ascertainment
      confirming the appointment of the Kennedy electors. Nixon

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      determined, without objection, to count the slate favoring
      Kennedy. And though he indicated that he did not mean that
      decision to establish a precedent, his actions were, in fact,
      perfectly consistent with the ECA: Congress had been
      presented with multiple slates; under the ECA, neither slate
      benefited from §5’s “safe harbor” determination; it was
      therefore for Congress to select which slate should be counted;
      Vice President Nixon made a presumptive ruling favoring the
      Kennedy slate; no sufficient objection to that determination was
      made.

22.   The Hawaii example demonstrates a sensible, pro-democratic
      accommodation to the rules of the Constitution. By
      recognizing that contests about an election will not necessarily
      be resolved by Electors Day, its innovation permits the legal
      process to be completed without interfering with the ability of a
      state to be properly represented. By allowing the process for
      resolving a contest to continue for three more weeks, between
      Electors Day and January 6, the Hawaii accommodation gives a
      state the maximum opportunity to determine which candidate
      is properly entitled to the electoral votes from the state. Had
      Hawaii been forced to truncate that process on Electors Day,
      the will of its voters would not have been reflected on January 6,
      1961. By permitting the process to continue, the vote finally
      recorded on January 6 properly accorded with the will of
      Hawaii’s voters.


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23.   The Hawaii accommodation is also appropriate to permit the
      orderly resolution of any election-related claim that could not
      be resolved before Electors Day. If there is a contest about
      either the results of the election or the legal principles under
      which those results should be determined, and both slates of
      electors have not met and cast their ballots on Electors Day,
      then subsequent adjudication would be moot: The Constitution
      expressly requires that the “Day” on which electors “shall give
      their Votes” “shall be the same throughout the United States”;
      litigation after Electors Day cannot change when “their Votes”
      were actually given; thus, if electoral votes were not actually cast
      on Electors Day, no resolution by a court could affect the
      ultimate result; such litigation would therefore be moot.

24.   There is no principled justification for limiting to a recount the
      reasons why electors from both slates might be permitted to
      meet and cast their ballots on Electors Day. Consider a
      hypothetical suggested by the HBO series Succession to make
      the point: In season 4, episode 8, an election in Wisconsin is
      marred by a fire at the largest Milwaukee polling place,
      destroying the ballots cast that day. Because of that destruction,
      there were fewer votes from Milwaukee to count, and the
      election was therefore called for the Republican candidate.
      Under the Electoral Count Reform Act of 2022, such an event
      would likely entitle the governor of Wisconsin to extend the
      time for voting in Milwaukee. Imagine the governor tries to do


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      that, but a state court enjoins the move, finding the federal law
      unconstitutional. Imagine litigation challenging that injunction
      continues past Electors Day. Assume the United States
      Supreme Court ultimately decides in favor of the Wisconsin
      governor and permits the voting in Milwaukee to continue.
      And imagine, finally, that vote, when complete, is enough to
      swing the state for the Democrat. If the Democratic electors in
      this hypothetical had not met on Electors Day, then there
      would be no votes for Congress to count on January 6. Indeed,
      if the Democratic electors in this hypothetical had not met on
      Electors Day, any litigation after Electors Day would be moot.
      Thus, in this hypothetical, if the Democratic electors had not
      met on Electors Day and cast their ballot, there would be no
      way to ensure that the electoral votes for Wisconsin could have
      been cast for the Democratic candidate. The fire — if
      intentional — would have achieved its intended results: the
      election would have been stolen from the Democratic
      candidate, because the Democratic electors had not cast their
      ballot on Electors Day.

25.   In such cases, there could be no sufficient reason to permit the
      state to interfere with the federal function of electors meeting
      and voting on Electors Day. If they do meet and cast their
      ballots, and the litigation fails, then their votes are just extra
      paper in the National Archive. If they do meet and cast their
      ballots, and the litigation resolves in their favor, then the will of


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      the voters from their state would be recognized in the tally
      completed on January 6. But if, because of threatened criminal
      prosecutions under state law, they do not meet and cast their
      ballots, then there is no opportunity for any litigation about
      their claims to be completed, and there is a real chance that the
      will of the voters from their state will not be recorded on
      January 6.

26.   In every multiple-slate case contemplated by the ECA, electors
      supporting both major candidates would have met to cast their
      ballots on Electors Day. No doubt, such electors could be said
      to be “fake,” and be engaged in a “conspiracy” to elect their
      candidate for President. But the ECA provided an adequate
      mechanism for protecting the nation against any malign
      consequences from such a “conspiracy,” by providing a method
      for determining which slate would, in the end, be counted.
      There is nothing in our history to suggest that Congress is
      incapable of resolving contests under the statute. Even in the
      face of violence, Congress has demonstrated that it has the
      institutional capacity to determine such contests appropriately

27.   Further, it is my view that the Superior Court in the Ward v.
      Jackson case was fundamentally mistaken about whether the
      Electoral Count Act purported to require the resolution of any
      election-related claims by the “safe harbor” date, six days before
      Electors Day. Not only does the law not purport to require any
      such resolution, it would, in my view, be unconstitutional for

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      Congress to regulate the manner by which the states determine
      which slate of electors shall represent it in the Electoral
      College. The Constitution gives Congress the power to say
      when electors shall be appointed, and when electors shall cast
      their ballots. But it does not give Congress the power to
      regulate how the states adjudicate election-related claims, and it
      certainly would not give Congress the power to ignore the
      certification by a governor of a different slate of electors — as
      Hawaii did in the 1960 election — simply because that
      certification happens after Electors Day — at least if the later-
      certified electors had, in fact, met and cast their ballots on
      Electors Day.

28.   These arguments suggest two important implications for federal
      constitutional power. First, presidential electors must be free to
      exercise their federal function, state law notwithstanding.
      Second, the ECA clearly contemplated electors exercising that
      federal function, even though they had not yet been finally
      certified as the electors of a state.

29.   It is my view, therefore, that no criminal action could stand
      against any 2020 Arizona Republican elector:

      1.    When the Arizona Republican electors met and cast their
            ballots on Electors Day, they were performing a federal
            function;




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     2.    That function was appropriate, given the ongoing
           litigation of claims related to the results of the election;

     3.    Whether or not those claims would change the results in
           Arizona, they certainly had legal merit: to the extent the
           lower court believed itself blocked by the Electoral Count
           Act of 1887 from considering evidence of error, that belief
           was clearly incorrect; it was certainly plausible that the
           United States Supreme Court would, on the precedent of
           Bush v. Gore, have taken the case, to at least correct that
           mistaken view, and permit a recount consistent with the
           correct view;

     4.    Had the Republican electors not performed their federal
           function and cast their ballots on Electors Day, any
           subsequent litigation about the election would have been
           moot, defeating the substantial state and federal interest
           that the will of the legislature — that the vote of the
           people of Arizona determine its electoral votes — be
           respected;

     5.    For litigation to create the need for an elector to perform
           his or her federal function, that litigation must have a
           basis in law and fact. But the judgment about whether
           such litigation has a legitimate basis should be made by
           the lawyers pursuing that litigation, subject to professional
           obligations; it is not appropriate to force presidential


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           electors, many of whom are not trained in the law, to
           make an independent judgment about the appropriateness
           of legal arguments within a contested election.

30.   Finally, I offer my view about two more possible arguments said
      to justify the Arizona Republican electors meeting to cast their
      ballots on Electors Day.

31.   In the 2020 election, both the Trump campaign and some in
      Congress believed that the President of the Senate had a
      constitutional power to determine which slate of electors from a
      state should be counted.

32.   That view had been suggested in a 2004 law review article by
      Professor Bruce Ackerman and then-future Professor David
      Fontana. It was also advanced by Republicans in 1876 when
      they threatened to exercise such power and rule Hayes into
      office. A handful of scholars have pointed to this mid-19th-
      century view of some within Congress. Taken together, these
      views might well suggest that there was a plausible legal basis
      for the President of the Senate to exercise independent
      judgment about which slate to count. An elector convinced of
      this reasoning could, therefore, have had a good faith belief that
      it was appropriate to meet and cast ballots on Electors Day, if
      only to preserve the power of the President of the Senate.

33.   I believe there is no constitutional authority in the President of
      the Senate to determine — independently of the Joint Session

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      — which slate of electors shall be counted. The contrary view
      is, in my view, based on an incomplete and inaccurate
      understanding of our constitution and history. Thus, whether
      or not one could, in good faith, believe that the President of the
      Senate was vested with constitutional discretion, I do not
      believe such a view was correct in 2020. Congress’s amendment
      of the ECA confirms it is not correct today.

34.   Nonetheless, whether that view was correct or not, the proper
      question about an elector’s privilege to meet and cast their
      ballot on Electors Day without fear of criminal sanction cannot
      depend on whether a novel legal argument is ultimately deemed
      correct. Electors are not Supreme Court Justices, or lawyers or
      law professors. If our system is to have an adequate opportunity
      to adjudicate novel legal arguments, electors must be privileged
      to cast their ballot if only to preserve the opportunity for that
      argument to be resolved. The appropriateness of those
      arguments should be regulated by the rules of the legal
      profession, not the judgment of untrained electors. Certainly,
      before 2020, more scholars had suggested that the Vice
      President had a constitutional discretion to determine which
      slate of electors shall be counted than had been suggested,
      before 2000, that the Equal Protection Clause gave a
      presidential campaign the power to challenge varying recount
      procedures. Yet that latter claim formed the basis of the




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      injunction that stopped the 2000 recount in Florida, thereby
      determining the election for George Bush.

35.   Similarly, beginning in November 2020, certain Members of
      Congress began to insist that regardless of any power that the
      President of the Senate might have, Congress itself was the
      ultimate forum for determining whether fraud or constitutional
      flaws had marred state elections, at least where the state courts
      had failed to address the substance of such claims adequately.
      That argument could well have been made against the Arizona
      proceedings because, again, the Arizona Superior Court
      truncated its review of duplicate ballots and related
      “adjudicated” ballots based on an incorrect interpretation of the
      Electoral Count Act.

36.   It is my view that this view of congressional power is incorrect.
      Under the Constitution, Congress’s job is to count the electoral
      votes presented to Congress. It is not its job to adjudicate state
      election returns or oversee state judicial processes. Nonetheless,
      as the Senators advancing this view were among the most
      educated in the United States Senate (Yale-educated Senator
      Josh Hawley, for example, had been a law professor before
      joining the Senate), an elector could well, in good faith, believe
      that insufficiently adjudicated claims of fraud or
      maladministration could be resolved by Congress on January 6.




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37.   However, for the same reason as offered in ¶34, the correctness
      of that view cannot affect an elector’s privilege to meet and cast
      their ballot on Electors Day without fear of criminal sanction.
      If Congress indeed determines that its power includes the
      power to police the administration of election results, it can
      exercise that power in a particular state only if there is an
      alternative slate of electoral votes to count. It would certainly
      simplify the system of selecting the President if a court would
      rule — or Congress would resolve — that Senator Hawley’s
      view was plainly incorrect. But it cannot be a crime for an
      elector to act on the basis of the views of prominent members of
      the United States Congress, if only to give Congress the
      opportunity to resolve those views. Again, had the Arizona
      electors failed to cast their ballots, there would have been no
      basis for Congress to determine which slate of electors was
      proper since there would have been no alternative votes from
      those electors for Congress to count.

Conclusion

38.   For these reasons, it is my view that neither the states nor
      Congress could limit the privilege of an uncertified elector to
      meet and cast their ballot on Electors Day, so long as a proper
      authority could determine that that elector had been properly
      appointed on Election Day.




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39.   It follows that the Arizona Republican Electors were privileged
      to meet and cast their ballots on Electors Day, because they
      could have been determined to have been properly appointed on
      Election Day, either because:

      1.   there was a petition before the United States Supreme
           Court that, under the rationale of Bush v. Gore, could have
           raised a federal question about the effect of the Electoral
           Count Act upon the time the state had to resolve election
           contests;

      2.   there was a still unresolved view, however strongly I
           believe it to be erroneous, that the Vice President had a
           constitutional discretion to determine any contest between
           slates of electors;

      3.   there was a still unresolved view, however strongly I
           believe it to be erroneous, that Congress has the ultimate
           power to adjudicate state election administration
           questions, at least when state courts have not, in
           Congress’s view, adequately resolved such claims.

40.   In each of the above three cases, without a privilege to cast their
      ballot, there would be no opportunity, because of mootness, to
      resolve either the legal claim, the claim about the Vice
      President’s constitutional authority, or the claim about
      Congress’s congressional authority in the face of incompletely
      adjudicated state claims.

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41.   There could be no sufficient interest, in my view, to support
      suppressing such an elector’s privilege, so as to avoid the chance
      of Congress mis-determining the results on January 6. The
      Electoral Count Act of 1887 is a mechanism designed precisely
      to resolve cases where Congress is presented with multiple
      slates of electors. It worked well in the thirteen decades before
      the 2020 election. And even in the face of a violent
      insurrection, Congress has demonstrated that it has the
      institutional capacity to determine those contests appropriately.

42.   I base my view on an understanding of the nature of the
      federalist choice that the selection of our President involves.
      States have enormous power in that process. But the function of
      presidential electors is, ultimately, federal. That federal function
      privileges electors to perform their role without substantive
      interference by state law or state authorities.

43.   My view is reinforced by a practical recognition of the
      challenges that our presidential election system is certain to
      face. We have entered a period of extremely close national
      elections. We can be confident that in the foreseeable future,
      there will be many states in every election that have extremely
      close contests, and some that cannot be resolved finally in the
      period before Electors Day.

44.   Arizona’s criminal prosecution of uncertified electors who met
      and voted on Electors Day will only add to the uncertainty and


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      ultimate risk that the results will fail to reflect the vote of the
      people. Criminal liability will certainly dissuade future
      uncertified electors from meeting and voting, even though their
      candidate would, ultimately, prevail through ongoing litigation.
      But their failing to meet and vote would terminate that
      litigation, regardless of its merits.

45.   By contrast, recognizing the privilege of electors to meet and
      cast their ballot, so long as a proper authority could determine
      them to be the properly appointed electors, secures to the
      process an additional three weeks during which close elections
      can be adjudicated.

46.   For these reasons, I believe it would have been completely
      appropriate for Arizona’s Republican electors to meet on
      Electors Day and cast their ballots for Donald Trump. State
      criminal prosecution of those acts would, therefore, be
      unconstitutional.

      I make these statements above based on my considered views
      and sworn under the penalty of perjury.

                                                          Lawrence Lessig




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EDUCATION
         Yale Law School, New Haven, CT
                  J.D., 1989.
         Trinity College, Cambridge University, Cambridge, UK
                  M.A. Philosophy, Honors First Class, 1986.
         University of Pennsylvania, Philadelphia, PA
                   B.A. Economics, B.S. Management (Wharton), 1983.

HONORARY DEGREES
         University of Victoria, Victoria, BC, Canada
                   Honorary Doctorate of Education, 2022
         Université catholique de Louvain, Louvain, Belgium
                   Honorary Doctorate, 2014.
         Lund University, Lund, Sweden
                 Honorary Doctorate in Sociology, 2013.
         John Marshall Law School, Atlanta, GA
                 Honorary Doctorate in Law, 2012.
         Athabasca University, Athabasca, Canada
                  Honorary Doctorate of Law, 2010.
         University of Amsterdam, Amsterdam, Netherlands
                   Honorary Doctorate of Law, 2010.

EMPLOYMENT AND POSITIONS
         Harvard University, Cambridge, MA
                  Roy L. Furman Professor of Law and Leadership, 2009-
                  present; Director, Edmond J. Safra Center for Ethics,
                  2009-2015; Courses taught: Constitutional Law I, Contracts,
                  Institutional Corruption, Comparative Constitutional Law,
                  Contextual Constitutionalism: The view through race.
                  Seminars taught: Corruption, Digital Platforms, Article V
                  Convention Process, Fidelity in Constitutional Interpretation,
                  Law and Narrative, Birthing Constitutions, Secession and
                  Reconstruction, Wargaming 2020, Reconstruction Originalism,
                  Governing Virtual Worlds, Readings in Reconstruction, The
                  Surveillance Society.
         Stanford Law School, Stanford, CA
                  C. Wendell and Edith M. Carlsmith Professor of Law,
                  2005-2009; John A. Wilson Distinguished Faculty Scholar,
                  2003-2005; Wilson Faculty Scholar, 2002; Professor of Law,


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                   2000-2002; Co-Director, Center for Internet and Society,
                   2000-present; Courses taught: Contracts, Constitutional Law I
                   (structure, equal protection, due process), Constitutional Law II
                   (First Amendment), Torts, Contracts. Seminars taught: Open
                   Sources, Patents in Developing Worlds, Architectures of
                   Identity, Law of the Virtual World, Contracts II; Immunity;
                   Research on Corruption; Fair Use in Film.
         American Academy in Berlin, Berlin, Germany
                 Fellow, 2007-2008.
         Wired Magazine, San Francisco, CA
                 Columnist, 2003-2007.
         Creative Commons, San Francisco, CA
                  CEO, 2001-2007.
         Red Herring, San Francisco, CA
                  Columnist, 2002-2003.
         CIO Insight, New York, NY
                 Columnist, 2002-2003.
         Business Law Center, Tokyo University, Tokyo, Japan
                  Fellow, 2002.
         Wissenschaftskolleg zu Berlin, Berlin, Germany
                 Fellow, 1999-2000.
         Harvard Law School, Cambridge, MA
                  Jack N. and Lillian R. Berkman Professor for Entrepreneurial
                  Legal Studies, 1998; Professor of Law, 1997-2000; Visiting
                  Professor of Law, Winter term, 1997. Courses taught:
                  Contracts, Constitutional Law. Seminars taught: The
                  Microsoft Case, The Law of Cyberspace: Social Protocols, The
                  High-Tech Entrepreneur, Fidelity.
         The Industry Standard, San Francisco, CA
                 Columnist, 1998-2001.
         Program on Ethics and the Professions, Harvard University,
                 Cambridge, MA
                 Fellow, 1996-1997.
         The Yale Law School, New Haven, CT
                  Visiting Professor of Law, Spring term, 1995. Course taught:
                  Antitrust. Seminar taught: The Law of Cyberspace.
         University of Chicago Law School, Chicago, IL
                   Professor of Law, 1995-1997; Assistant Professor of Law,
                   1991-1995. Co-Director, Center for the Study of
                   Constitutionalism in Eastern Europe. Courses taught:
                   Constitutional Law I (federalism, separation of powers, judicial
                   review); Constitutional Law II (free speech); Contracts.
                   Seminars taught: The Law of Cyberspace; The Public Good;


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                  Comparative Constitutional Law; Legal Theory Workshop;
                  Fidelity Theory: Theories of Originalism.
         Lexis Counsel Connect, Miamisburg, OH
                  Moderator, Constitutional Law Discussion Group,
                  1994-1995.
         Legal Studies Program, CEU Budapest College, Budapest,
                  Hungary
                  Lecturer in LLM program for Eastern and Central European
                  lawyers. Courses taught: Law and Economics, Separation of
                  Powers, and Constitutional Privacy. Summer, 1992, 1993,
                  1995 (Budapest); 1994 (Moscow).
         Justice Antonin Scalia, United States Supreme Court, Washington,
                   DC
                   Law Clerk, 1990-1991.
         Judge Richard Posner, U.S. Court of Appeals, Seventh Circuit,
                  Chicago, IL
                  Law Clerk, 1989-1990.

BOARDS
         Equal Citizens
                  Founder, Member of the Board, 2017-present.
         The Metagovernance Project
                 Member of the Board, 2019-2023.
         AXA Scientific Research Fund, Paris, France
                 Member of the Advisory Board, 2011-present.
         Creative Commons, San Francisco, CA
                  Emeritus, 2015-present.
                  Member of the Board, 2007-2015.
                  Chairman of the Board, 2001-2007.
         Authors’ Alliance
                  Member of the Advisory Board, 2021-present.
         MaydayPAC
                Founder, Member of the Board, 2014-2015.
         Rootstrikers
                  Founder, Member of the Board, 2009-2014.
         Sunlight Foundation, Washington, DC
                  Member of the Advisory Board, 2008-2016.
         iCommons, London, England
                Member of the Board, 2005-2012.
         Brave New Films Foundation, Los Angeles, CA
                 Chairman of the Board, 2008-2012.


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                   Member of the Board, 2007-2008.
         Change Congress, San Francisco, CA
                 Member of the Board, 2008-2011.
         MAPLight.org, Berkeley, CA
                Member of the Board, 2008-2012.
         Americans Elect
                 Member of the Advisory Board, 2011-2012.
         Freedom House, Washington, DC
                 Member of the Board, 2008.
         Free Press, Washington, DC
                  Member of the Board, 2007-2009.
         Journal of Academic Legal Studies
                   Member of the Advisory Board, 2008-2009.
         LifeJournal, San Francisco, CA
                  Member of the Advisory Board, 2008-2009.
         American Academy in Berlin, Berlin, Germany
                 Member of the Board, 2008-2012.
         Software Freedom Law Center, New York, NY
                  Member of the Board, 2005-2008.
         Public Library of Science, San Francisco, CA
                  Member of the Board of Directors, 2003-2007.
         Public Knowledge, Washington, DC
                  Member of the Board, 2002-2007.
         Electronic Frontier Foundation, San Francisco, CA
                  Member of the Board, 2002-2007.
         Free Software Foundation, Cambridge, MA,
                  Member of the Board, 2004-2007.
         Red Hat Center for the Public Domain, Durham, NC
                 Board Member, 2000-2001.
         Penn National Commission on Society, Culture and Community,
                 Philadelphia, PA
                 Commission Member, 1997-98.
         Lexis-Nexis Electronic Authors Press, Miamisburg, OH
                  Member of the Editorial Advisory Board, 1995-1997.




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HONORS AND AWARDS
         Oxford Internet Institute’s Lifetime Achievement Award, 2016
         Distinguished Alumni Award, The Lancer Foundation of the
                  Loyalsock Township School District, 2016
         Brookline PAX, Ethel & Ben Alper Progressive Activism Award,
                  2015
         Common Cause of Illinois, Champions of Democracy, 2015
         The Politico 50, 2014
         Webby Lifetime Achievement Award, 2014
         Fastcase 50 Award, 2011
         American Philosophical Society, Philadelphia, PA
                 Fellow, 2007.
         American Academy of Arts and Sciences, Cambridge, MA
                 Fellow, 2006.
         Monaco Media Prize, 2008
         Finalist, FT Business Book of the Year, 2008
         National Law Journal “100 Most Influential Lawyers in America,”
                  2000, 2006, 2013
         Free Software Foundation Award for the Advancement of Free
                  Software, 2003
         Scientific American, Top 50 Innovators, 2002
         Editors’ Choice, Best Non-Technical Book, Linux Journal, 2002
         World Technology Award for Law, 2001, 2009
         BusinessWeek “25 Top eBiz Leaders,” 2001, 2000

TESTIMONIES AND LITIGATION
         Baxter v. MA Attorney General (2023)
                   Counsel for Plaintiff
         Patrick v. Alaska Public Offices’ Commission (2021)
                    Counsel for Plaintiff
         Baca v. Colorado (2020)
                  Counsel for Plaintiff.
         Chiafalo v. Washington (2020)
                   Counsel for Plaintiff.
         CTIA v. City of Berkeley (2015)
                 Counsel for Defendant.


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         Hearing on SCR 6, Article V Convention to Amend the US
                  Constitution
                  148th Regular Session, Delaware General Assembly, May 13,
                  2015.
         Hearing on Ordinance Requiring Notice Concerning Carrying of
                  Cell Phones
                  Regular Meeting, Berkeley City Council, May 12, 2015.
         Hearing on Article V Convention
                  Assembly of State Legislatures Judiciary Committee Meeting on
                  Capitol Hill, December 8, 2014.
         Hearing on SJR 42, US Constitutional Convention
                  98th Regular Session, Illinois General Assembly, May 20,
                  2014.
         The Case for an Article V Convention of the States
                  With several MA State Representatives and Wolf PAC
                  volunteers, Massachusetts Statehouse, July 10, 2013.
         Hearing on JRS 27, Campaign Finance Reform
                  Vermont House Government Operations Committee, Vermont
                  Legislature, April 18, 2013.
         Hearing on “Taking Back Our Democracy: Responding to Citizens
                  United and the Rise of Super PACs”
                  US Senate Judiciary Committee, Subcommittee on the
                  Constitution, Civil Rights, and Human Rights, 2012.
         Hearing on “The High Cost of High Prices for HIV/AIDS Drugs
                  and the Prize Fund Alternative”
                  US Senate Committee on Health, Education, Labor and
                  Pensions, 2012.
         Hearing on “The Future of the Internet”
                  US Senate Committee on Commerce, Science, and
                  Transportation, 2008.
         Hearing on “Network Neutrality”
                  US Senate Committee on Commerce, Science, and
                  Transportation, 2006.
         H.R. 107 – The Digital Media Consumers’ Rights act of 2003
                  House Subcommittee on Commerce, Trade, and Consumer
                  Protection, 2004.
         Kahle v. Ashcroft (2004)
                   Counsel for Plaintiff.
         Hardwicke v. American Boychoir (2003)
                 Counsel for Plaintiff.




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             Eldred v. Ashcroft (2003)
                       Counsel of Record in challenge to 1998 Sonny Bono Copyright
                       Term Extension Act.
             Government Role in Promoting the Future of
                    Telecommunications Industry and Broadband
                    Deployment
                    US Senate Committee on Commerce, Science, and
                    Transportation, 2002.
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                     Copyright Act
                     Copyright Office, 2002.
             Universal Music v. Corley (2001)
                       Author, Amicus Brief.
             Simon v. AT&T (2001)
                      Plaintiffs’ expert.
             A&M Records v. Napster (2000)
                   Defendant’s expert.
             Microsystems Software v. Scandinavia Online (1999)
                      Author, Amicus Brief.
             United States v. Microsoft (1997-2002)
                      Author, Amicus Brief, 2000.
                        Testimony before Senate Committee on the Judiciary, 2001.
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                   NTIA comments, 1998.
             Child Online Protection Act
                     Testimony before House Subcommittee on Telecommunications
                     and Consumer Protection, 1998.
             Anti-Paparazzi Legislation
                     Testimony before House Judiciary Committee, 1998.



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                       Yale University Press, 2024.
(2)      They Don’t Represent Us: Reclaiming Our Democracy
                     Dey Street Books, 2019.



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(3)      Fidelity & Constraint: How the Supreme Court Has Read the
               American Constitution
                      Oxford University Press, 2019.
(4)      America, Compromised
                     University of Chicago Press, 2018.
(5)      Republic, Lost Version 2: The Corruption of Equality and the Steps to
             End It
                      Twelve Books, 2015.
(6)      The United States is Lesterland
                      TED Books, 2013.
(7)      One Way Forward
                    Byliner Originals, 2012.
(8)      Republic, Lost: How Money Corrupts Congress And a Plan to Stop It
                      Twelve Books, 2011.
(9)      Remix: Making Art and Commerce Thrive in the Hybrid Economy
                     Penguin Press, 2008.
(10)     Code Version 2
                      Basic Books, 2007.
(11)     Free Culture: How Big Media Uses Technology and the Law to Lock
              Down Culture and Control Creativity
                       Penguin Press, 2004.
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                IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

                   IN AND FOR THE COUNTY OF MARICOPA
THE STATE OF ARIZONA,                  Case No.: CR2024-006850-001
                                                  CR2024-006850-002
              Plaintiff,                          CR2024-006850-003
                                                  CR2024-006850-004
vs.                                               CR2024-006850-005
                                                  CR2024-006850-006
KELLI WARD (001),                                 CR2024-006850-007
TYLER BOYWER (002),                               CR2024-006850-008
                                                  CR2024-006850-009
NANCY COTTLE (003),                               CR2024-006850-010
JACOB HOFFMAN (004),                              CR2024-006850-011
ANTHONY KERN (005),                               CR2024-006850-012
                                                  CR2024-006850-013
JAMES LAMON (006),                                CR2024-006850-014
ROBERT MONTGOMERY (007),                          CR2024-006850-015
                                                  CR2024-006850-016
SAMUEL MOORHEAD (008),                            CR2024-006850-017
LORAINE PELLIGRINO (009),                         CR2024-006850-018
GREGORY SAFSTEN (010),
                                               STATE’S MOTION FOR PROTECTIVE
MICHAEL WARD (011),                            ORDER
RUDOLPH GIULIANI (012),                        (Assigned to the Honorable Christina
                                               Henderson)
JOHN EASTMAN (013),
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BORIS EPSHTEYN (014),
JENNA ELLIS (015),
CHRISTINA BOBB (016),
MICHAEL ROMAN (017),
MARK MEADOWS (018),

               Defendants.

      The State requests this Court grant a protective order that (1) authorizes

the State to disclose the State Grand Jury transcripts and 31 exhibits to defense

counsel and (2) limits the dissemination of these materials by defense counsel, as

authorized by Rule 15.5. Based on the number of transcripts and exhibits,

disclosure will allow defense counsel a better opportunity to review the materials.

A protective order will account for Arizona’s “broader statutory framework

protecting grand jury secrecy.” State v. Bergin, 256 Ariz. 462, ¶ 21 (App. 2023); ER

3.8, cmt. 3 (“a prosecutor may seek an appropriate protective order from the

tribunal if disclosure of information to the defense could result in substantial

harm to an individual or to the public interest.”).

      Pursuant to Arizona Rules of Criminal Procedure 15.5(a)(2), this Court, for

good cause, may regulate disclosure under Rule 15. Regulation is appropriate if

the Court finds disclosure would result in a risk or harm outweighing any

usefulness to any party and the risk cannot be eliminated by a less substantial
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restriction. Due to the sensitive nature of grand jury proceedings, the State

requests this Court enter a limited order restricting the defendant’s use and

dissemination of such sensitive information.

        The State also will redact the names of the State Grand Jurors. Morgan v.

Dickerson, 253 Ariz. 207, 213, ¶ 25 (2022) (holding that “public access to jurors’

names promotes neither fairness in voir dire proceedings nor the perception of

fairness.”). Defense counsel may still access the redacted transcripts at the court

if necessary to consider the jurors’ names or challenge a grand juror under Rule

12.8.

        Accordingly, the State requests this Court to issue an order providing that:

   1. Defense counsel shall maintain the State Grand Jury transcripts and exhibits

        from the State in defense counsels’ custody. Defense counsel may scan,

        reproduce and disclose such information only to support staff, defense

        investigators, agents and/or experts (the “defense team”) as necessary for

        purposes of the defense of this case. Members of the defense teams

        receiving such information shall not reproduce or disseminate any

        discovery materials without further order of the Court. The defendants may

        review the grand jury transcripts and exhibits in the presence of defense

        counsel or other members of the defense teams. The parties agree that
   Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 76 of 263




   review at the office of defense counsel constitutes being the presence of

   the defense team for purposes of this Order. The defendant may not retain

   a copy of the grand jury transcripts and exhibits. Any copies must be kept

   secure so as to reasonably prevent loss, theft, or accidental disclosure to

   third parties.

2. Defense counsel shall maintain a copy of the order and shall ensure that

   the State Grand Jury transcripts and exhibits are identified in any case

   management system as subject to this protective order.

3. With respect to any discovery provided by the State under this Order, said

   discovery is for use in the defense of this criminal case only, but also

   includes any appeal, collateral attack, or other post-conviction proceeding.


                      RESPECTFULLY SUBMITTED this 24th day of June, 2024.

                                         KRISTIN K. MAYES
                                         ATTORNEY GENERAL


                                         /s/ Nicholas Klingerman
                                         NICHOLAS KLINGERMAN
                                         Assistant Attorney General
                                         Criminal Division
      Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 77 of 263




ORIGINAL of the foregoing e-filed
this 24th day of June, 2024 with:

Clerk of the Court
Maricopa County Superior Court
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The Honorable Christina Henderson
Maricopa County Superior Court

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      Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 79Clerk
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        IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

                IN AND FOR THE COUNTY OF MARICOPA
THE STATE OF ARIZONA,                         Case No.:    CR2024-006850-004
                                                           CR2024-006850-005
                Plaintiff,                                 CR2024-006850-006
                                                           CR2024-006850-016
vs.                                                        CR2024-006850-017
                                                           CR2024-006850-018
JACOB HOFFMAN (004),
ANTHONY KERN (005),
                                              REPLY TO MEADOWS’S RESPONSE
JAMES LAMON (006),
                                              TO STATE’S MOTION FOR
CHRISTINA BOBB (016),                         PROTECTIVE
                                              ORDER
MICHAEL ROMAN (017),
MARK MEADOWS (018),                           (Assigned to the Honorable Christina
                                              Henderson)
              Defendant.

      The State requests this Court grant a protective order that (1) authorizes the

State to disclose a redacted version of the State Grand Jury transcripts and 31

exhibits to defense counsel, (2) limits the dissemination of these materials, as
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authorized by Rule 15.5, and (3) requires defendant to return or destroy all copies

of unredacted versions of the state grand jury transcript.

      Defendant Meadows contends there is no legal basis for the State’s request

for a protective order, see Resp. at 3, but A.R.S. § 21-411(A) permits the Court to

deny a portion or even the entire grand jury transcript to a defendant “upon a

showing of extraordinary circumstances by a prosecuting officer.” And Rule 15.5

provides the mechanism for the State to disseminate a redacted copy of the grand

jury transcripts.

      “Unlike an ordinary judicial inquiry, where publicity is the rule, grand jury

proceedings are secret.” Levine v. United States, 362 U.S. 610, 617 (1960). Grand

jury proceedings and records have been “kept from the public eye” since the 17th

century. Douglas Oil Co. v. Petrol Stops Nw., 441 U.S. 211, 218 n.9 (1979). This

common-law “rule of grand jury secrecy” remains “an integral part of our criminal

justice system.” Id. The Supreme Court has identified a “public interest in [this]

secrecy.” Id. at 223. Secrecy “insulates the grand jury from public pressure,

protects witnesses and targets of grand jury investigations, and encourages witness

cooperation.” State v. Bergin, 256 Ariz. 462, ¶ 34 (App. 2023) (citing Samaritan

Health Sys. v. Superior Court, 182 Ariz. 219, 221 (App. 1994)). There is no public

interest in disclosing the names of the grand jurors. See Morgan v. Dickerson, 253
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Ariz. 207, 213, ¶ 25 (2022) (holding that “public access to jurors’ names promotes

neither fairness in voir dire proceedings nor the perception of fairness.”).

      Extraordinary circumstances justify limiting the dissemination of unredacted

versions of the grand jury transcript, including: (1) widespread and invasive public

interest about these state grand jury proceedings, and in particular the makeup of

the grand jury, has already been demonstrated in this case; (2) similarly situated

grand jurors in the Georgia fake elector case had their identities and personal

information disseminated online, accompanied by threats, slurs, and other vitriol;

(3) given the number of defendants and defense counsel teams, the risk of one or

more copies of the unredacted transcripts being disseminated to the public is high;

and (4) there have already been leaks about the grand jury proceedings.

      First, widespread public attention to this case necessitates limits on the

dissemination of the unredacted grand jury transcript. This has led to several

apparently unlawful disclosures of details from the State Grand Jury proceedings to

national media by anonymous sources,1 including a particular interest on the



1
  See, e.g., Betsy W. Swan, Pro-Trump fake electors in Arizona have pleaded the
Fifth      before       grand   jury,     POLITICO      (Mar.    28,      2024),
https://www.politico.com/news/2024/03/28/arizona-fake-electors-grand-jury-
plead-fifth-00149605 (last accessed June 22, 2024); Kyle Cheney & Betsy W.
Swan, Arizona grand jury indicts Meadows, Giuliani, other Trump allies for 2020
election         interference,     POLITICO        (April      24,        2024),
https://www.politico.com/news/2024/04/24/arizona-election-indictments-giuliani-
meadows-trump-00154241.
        Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 82 of 263




composition of the State Grand Jury.2 See A.R.S. § 13-2812 (criminalizing

unauthorized disclosure of the “nature or substance” of grand jury proceedings).

        Second, a similar case out of Georgia involving some of the same defendants

demonstrates the risk of harassment to the State Grand Jurors should an unredacted

version of the transcripts find its way into the public. Unlike in Arizona, the names

of the grand jurors in Georgia are listed on the indictment. Within days of the

indictment becoming public, the grand jurors’ identities and personal information

were circulated on far-right websites, along with threats, slurs, and vitriol. See

Odette Yousef, Threats, slurs and menace: Far-right websites target Fulton County

grand           jurors,          NPR            (August          18,          2023),

https://www.npr.org/2023/08/18/1194471162/trump-indictment-fulton-county-

grand-jurors-threats (last accessed June 22, 2024) (“Amid a torrent of other posts

speculating on the race and religion of the jurors, and rife with derogatory slurs,

the implication was clear: This was a target list.”). Given the similarity of the two

cases, a similar result could reasonably be expected should an unredacted version

of the grand jury transcripts be disclosed to the public.

        Throughout the grand jury proceedings, there have already been leaks to the

media. Much of this information could only have been known by attorneys or witnesses

2
  Betsy W. Swan & Kyle Cheney, Inside the unusually aggressive Arizona grand
jury that indicted Trump’s allies, POLITICO (May 10, 2024),
https://www.politico.com/news/2024/05/10/inside-arizona-grand-jury-trump-
indictment-00157447
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involved in the grand jury proceedings. For example, one news article relied

extensively on an anonymous witness to describe the makeup of the grand jury, the

types of questions asked of the witness, and the length of the questioning. Betsy W.

Swan & Kyle Cheney, Inside the unusually aggressive Arizona grand jury that indicted

Trump’s           allies,          POLITICO            (May           10,          2024),

https://www.politico.com/news/2024/05/10/inside-arizona-grand-jury-trump-indictment-

00157447. And another article reported on several witness receiving subpoenas to testify

before the grand jury, despite acknowledging that the disclosure of such information was

prohibited by Arizona law. See Betsy W. Swan & Kyle Cheney, Reps. Andy Biggs, Paul

Gosar subpoenaed in Arizona probe of Trump fake electors, POLITICO (May 10, 2024).

Unless the Court puts in place appropriate protective measures, therefore, the risk of

further leaks and unauthorized disclosure of the grand jury proceedings is high.

      Given that there are eighteen defendants in this case, most represented by

different attorneys and their staff, and there are several days of grand jury

transcripts, the sheer number of unredacted transcripts exponentially increases the

risk of dissemination to the public. As Defendant Meadows has noted in his

response, his counsel has already made numerous copies of the unredacted

transcripts and disseminated them to his legal team and to the defendant himself.

Presumably other defense counsel have done so as well.               A protective order

ordering the return or destruction of any unredacted copies is therefore necessary

to prevent the risk of dissemination to the public.
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      The State recognizes the defendants have the right and need to review the

grand jury transcripts and exhibits.     A.R.S. § 21-411(A). A protective order

permitting the State to disclose the redacted version will both account for

Arizona’s “broader statutory framework protecting grand jury secrecy,” while also

allowing defense counsel a better opportunity to review the materials from the

convenience of their offices rather than taking turns reviewing a copy at the

courthouse. State v. Bergin, 256 Ariz. 462, ¶ 21 (App. 2023); ER 3.8, cmt. 3 (“a

prosecutor may seek an appropriate protective order from the tribunal if disclosure

of information to the defense could result in substantial harm to an individual or to

the public interest.”). And to the extent Defense counsel needs to consider the

jurors’ names or challenge a grand juror under Rule 12.8, they would still have

access the unredacted transcripts at the court.

      The State has a redacted version of the State Grand Jury transcripts ready to

share with defense counsel for each defendant, so the requested protective order

will not be unduly disruptive to their ability to prepare any motions to remand

under Rule 12.9. Nor will an order to return or destroy the unredacted copy be

unduly burdensome, given the competing interests of maintaining grand jury

secrecy outlined above.

      Accordingly, the State requests this Court to issue an order providing that:

   1. Defense counsel shall maintain the State Grand Jury transcripts and exhibits
   Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 85 of 263




   from the State in defense counsels’ custody. Defense counsel may scan,

   reproduce and disclose such information only to support staff, defense

   investigators, agents and/or experts (the “defense team”) as necessary for

   purposes of the defense of this case. Members of the defense teams,

   including the Defendants, receiving such information shall not reproduce or

   disseminate any discovery materials without further order of the Court. Any

   copies, including copies provided to the Defendants, must be kept secure so

   as to reasonably prevent loss, theft, or accidental disclosure to third parties.

2. Defense counsel shall maintain a copy of the order and shall ensure that the

   State Grand Jury transcripts and exhibits are identified in any case

   management system as subject to this protective order.

3. With respect to any discovery provided by the State under this Order, said

   discovery is for use in the defense of this criminal case only, but also

   includes any appeal, collateral attack, or other post-conviction proceeding.

         Respectfully submitted June 26, 2024.

                                            KRISTIN K. MAYES
                                            ATTORNEY GENERAL

                                            /s/ Nicholas Klingerman
                                            NICHOLAS KLINGERMAN
                                            Assistant Attorney General
                                            Criminal Division
      Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 86 of 263




ORIGINAL of the foregoing e-filed
This 26th day of June, 2024 with:

Clerk of the Court
Maricopa County Superior Court
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The Honorable Christina Henderson
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       Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 88Clerk
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                IN AND FOR THE COUNTY OF MARICOPA

THE STATE OF ARIZONA,                        Case No.: CR2024-006850-001
                                                       CR2024-006850-004
                Plaintiff,                             CR2024-006850-006 X
                                                       CR2024-006850-011
vs.                                                    CR2024-006850-013
                                                       CR2024-006850-014
KELLI WARD (001),

JACOB HOFFMAN (004),                         NOTICE OF INTENT TO FILE
                                             RESPONSE TO DEFENDANTS’
JAMES LAMON (006),                           MOTIONS TO DISMISS PURSUANT
                                             TO A.R.S. § 12-751
MICHAEL WARD (011),
                                             AND
JOHN EASTMAN (013),
                                             REQUEST TO SET OMNIBUS
BORIS EPSHTEYN (014),                        BRIEFING SCHEDULE

                                             (Assigned to the Honorable Daniel Martin)
               Defendants.
                                             (Honorable Jennifer E. Green, Presiding
                                             Judge)

      The State of Arizona, through undersigned counsel, hereby informs the Court that

the State intends to file a limited response addressing the “prima facie proof” component
       Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 89 of 263




of Defendants Kelli Ward, Jacob Hoffman, James Lamon, John Eastman, and Boris

Epshteyn’s respective motions to dismiss under Arizona’s anti-SLAPP law, A.R.S.

§ 12-751(B).1 In the interest of avoiding repetitive filings and to preserve judicial

economy, the State also requests the Court exercise its discretion to align its

consideration of these motions by allowing the State to file a single omnibus response.

                                       DISCUSSION

       “A trial court has broad discretion over the management of its docket.” Findlay v.

Lewis, 172 Ariz. 343, 346 (1992). Under Arizona’s anti-SLAPP law,

       a motion to dismiss or quash may be filed within sixty days after the service
       of the complaint or other document on which the motion is based or, in the
       court’s discretion, at any later time on terms that the court deems proper,
       including a later time after there is actual notice of a party’s misconduct.

A.R.S. § 12-751(D). Thus, A.R.S. § 12-751 vests the Court with discretion to address a

motion to dismiss in the manner that most promotes judicial efficiency and the interests

of all involved parties. Moreover, because the statute does not provide a deadline for a

response to a motion to dismiss filed in a criminal case, the Arizona Rules of Criminal

Procedure apply and provide the Court explicit authority to adjust motion deadlines

where appropriate. Ariz. R. Crim. P. 1.9(d); State v. Colvin, 231 Ariz. 269, 271, ¶ 7 (App.

2013) (“Trial courts have discretion to extend the time for filing motions . . . .”).

       Here, since June 21, 2024, five defendants—Kelli Ward, Michael Ward, Jacob

Hoffman, James Lamon, and John Eastman—have filed separate motions to dismiss
1
  The State reserves the right to further respond to rebut the Defendants’ claims in
the event the Court finds the defendants have established “prima facie proof that
the legal action was substantially motivated by a desire to deter, retaliate against or
prevent the lawful exercise of a constitutional right.” A.R.S. § 12-571(B)
       Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 90 of 263




invoking A.R.S. § 12-751.2 Given these circumstances, as well as the overlapping legal

arguments and factual issues presented in each motion, a single, omnibus response,

followed by a single reply deadline provides the most efficient solution to resolve the

motions.

       Accordingly, the State respectfully requests that the Court permit the State to file

an omnibus response on the following timeline:

            Response Deadline for any Motion to Dismiss under A.R.S § 12-751

              filed by June 28, 2024: July 22, 2024.

            Reply Deadline to State’s Response: August 9, 2024.

The State has contacted defense counsel for each of the named Defendants above, who do

not object to this motion.

                                     CONCLUSION


       For the reasons stated above, the State requests the Court grant its request to align

the briefing schedule for Defendants’ motions to dismiss under A.R.S. § 12-751 and

adopt the State’s proposed deadlines.




2
  The State anticipates that additional motions to dismiss pursuant to A.R.S. § 12-751
will be filed by other defendants in this case. Those motions can either be grouped
together as suggested by the above, or the parties and the Court can formulate other
solutions.
      Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 91 of 263




             Respectfully submitted June 28, 2024.

                                              KRISTIN K. MAYES
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                                              /s/ Nicholas Klingerman
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The Honorable Daniel Martin
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The Honorable Jennifer E. Green
Presiding Judge
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By: /s/ Gilda Martinez
#12106968
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 93 of 263
     Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 94Clerk
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11   Attorneys for Defendant Mark Meadows

12                IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
13
                          IN AND FOR THE COUNTY OF MARICOPA
14
15   STATE OF ARIZONA,                            )   No. CR2024-006850-018
                                                  )
16                 Plaintiff,                     )   DEFENDANT MARK MEADOWS’S
17                                                )   MOTION FOR PERMISSION TO
     v.                                           )   FILE SUR-REPLY IN OPPOSITION
18                                                )   TO STATE’S MOTION FOR
19   MARK MEADOWS (18),                           )   PROTECTIVE ORDER
                                                  )
20                 Defendant.                     )   (Assigned to Honorable Daniel Martin)
21                                                )
                                                  )   (Honorable Jennifer E. Green, Presiding
22                                                )   Criminal)
23          Defendant Mark Meadows respectfully requests the Court accept and consider his
24   proposed Sur-reply in opposition to the State’s Motion for Protective Order, which is
25   being filed contemporaneously with this request. The Court should allow and consider
26   the Sur-reply because, as explained in that filing, the State’s Reply raises issues,
27   arguments, and legal authorities that were not included in its Motion for Protective Order.
28   Meadows should have the chance to respond to those new matters raised for the first time
     in the State’s Reply. A form of order is attached for the Court’s convenience.
     Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 95 of 263




 1         RESPECTFULLY SUBMITTED July 2, 2024.
 2
                                        MITCHELL | STEIN | CAREY | CHAPMAN, PC
 3
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 7                                             Attorneys for Defendant Mark Meadows
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     ORIGINAL of the foregoing E-FILED
 9   July 2, 2024, with:
10
     Clerk of the Superior Court
11   Maricopa County Superior Court
12
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13   DELIVERED VIA E-FILING
     July 2, 2024, to:
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23   and Michael Ward (011)
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26   Counsel for Defendant Tyler Bowyer (002)
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     Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 96 of 263




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     Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 97 of 263




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 7   (014)

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      /s/ B. Wolcott
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     Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 98Clerk
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                                                                     of the Superior Court
                                                                         *** Electronically Filed ***
                                                                            M. Yelverton, Deputy
                                                                           7/2/2024 11:45:51 AM
                                                                             Filing ID 18087274

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     *Pro Hac Vice motion pending
10
11   Attorneys for Defendant Mark Meadows

12                IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
13
                          IN AND FOR THE COUNTY OF MARICOPA
14
15   STATE OF ARIZONA,                           )   No. CR2024-006850-018
                                                 )
16                 Plaintiff,                    )   DEFENDANT MARK MEADOWS’S
17                                               )   PROPOSED SUR-REPLY IN
     v.                                          )   OPPOSITION TO STATE’S MOTION
18                                               )   FOR PROTECTIVE ORDER
19   MARK MEADOWS (18),                          )
                                                 )   (Assigned to Honorable Daniel Martin)
20                 Defendant.                    )
21                                               )   (Honorable Jennifer E. Green, Presiding
                                                 )   Criminal)
22
23          Defendant Mark Meadows submits this proposed Sur-reply for the Court’s
24   consideration in opposition to the State’s Motion for Protective Order. The Court should
25   allow and consider this Sur-reply because the State’s Reply raises issues, arguments, and
26   legal authorities that were not included in its Motion. Meadows should have the chance to
27   respond to those new matters raised for the first time in the State’s Reply. And the Court
28   should deny the State’s Motion for Protective Order because the State has failed to make
     Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 99 of 263




 1   the required “showing of extraordinary circumstances” that is required before the Court
 2   may deny the defendant a portion of the grand-jury transcript. A.R.S. § 21-411(A); see
 3   also Ariz. R. Crim. P. 12.7(c).
 4          As noted in Meadows’s Response, the State did not include a single legal authority
 5   in its Motion that would support its request for a protective order. In its Reply, the State
 6   now argues that A.R.S. § 21-411(A), which was not even cited in its Motion, provides a
 7   legal basis for the Court to grant the requested protected order. That statute states in
 8   relevant part:
 9          The [grand-jury] transcript or a portion of the transcript may be denied to a
10          defendant by the court upon a showing of extraordinary circumstances by a
            prosecuting officer.
11
     A.R.S. § 21-411(A). The State’s attempt to make the required showing for the first time
12
     in its Reply is plainly deficient and does not justify the Court withholding any portion of
13
     the grand-jury proceedings from defendant Meadows or ordering the other unlawful
14
     limitations on defendant Meadows’s ability to review the grand-jury proceedings that led
15
     to his indictment.
16
            An indicted defendant “is entitled to all transcripts of the proceeding from which
17
     his indictment was returned.” See Franzi v. Super. Ct., 139 Ariz. 556, 567 (1984). In
18
     particular, a defendant is entitled to review “a list of the names of the grand jurors” and
19
     their voir dire “examination conducted by the court.” State ex rel. Hastings v. Sult, 162
20
     Ariz. 112, 114 (1989). The defendant needs this material so he “can determine . . .
21
     whether the grand jurors were properly voir dired and whether the requisite number of
22
     grand jurors voted to indict.” Id.
23
            Only “[o]n a showing of extraordinary circumstances by the prosecutor, portions
24
     of the transcript may be withheld from the defendant.” Franzi, 139 Ariz. at 567 (citing
25
     A.R.S. § 21–411(A)). If the prosecutor fails to make the required showing, “all testimony
26
     of the proceedings from which the indictment is returned is to be turned over to the
27
     defendant.” Id.
28
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     Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 100 of 263




 1          The State has failed to make the required “showing of extraordinary
 2   circumstances” that would justify the Court withholding a portion of the grand-jury
 3   transcript from Meadows or otherwise limiting his ability to review those proceedings.
 4   None of the circumstances advanced by the State, separately or together, provide a
 5   legally sufficient basis.
 6          First, the State claims that widespread public interest in this case, and particularly
 7   the previous media reports about the grand-jury proceedings, justifies limiting
 8   Meadows’s ability to review the proceedings. But the media reports cited by the State
 9   came in March, April, and May 2024, months and weeks before Meadows’s counsel
10   obtained copies of the grand-jury transcripts on June 12. And Meadows himself was not a
11   witness in the grand-jury proceedings – meaning any disclosure of grand-jury
12   information did not come from Meadows or from his counsel.
13          Second, relying only on a single news report, the State claims that Meadows
14   should not have access to information about the grand-jury proceedings that resulted in
15   his indictment in Arizona because grand jurors in a totally separate prosecution in the
16   state of Georgia, where the names of grand jurors who returned an indictment are
17   presumptively public, faced online harassment. What reportedly happened in Georgia is
18   not an extraordinary circumstance justifying the Court’s limiting Meadows’s ability to
19   defend himself here. The grand juror’s names have already been provided to defense
20   counsel here and there have been no reports of harassment.
21          Third, the State suggests that the number of defendants in this case justifies its
22   proposed protective order, and blames any media leaks on “attorneys or witnesses
23   involved in the grand jury proceedings.” But, again, Meadows and his lawyers were not
24   involved in those proceedings, and the State itself decided how many defendants to
25   prosecute in this case. In any event, the State has no information or evidence linking the
26   media leaks to witnesses or their attorneys – the leaks could have just as easily come
27   from the grand jurors themselves, the prosecutors presenting the case, or others involved
28   in the proceedings.
                                                  -3-
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 1          Additionally, as the State acknowledges, Meadows and his counsel obtained and
 2   began reviewing the grand-jury transcripts before the State filed its Motion for Protective
 3   Order. The State points to nothing suggesting that Meadows or his lawyers improperly
 4   disseminated these materials in the weeks that have passed since then, and they have not.
 5   Simply because there are many defendants and lawyers in this case does not justify
 6   placing post-hoc limits on Meadows’s ability to review the grand-jury proceedings that
 7   led to his indictment.
 8          The materials from the grand jury in this matter are indisputably voluminous. The
 9   limitations proposed by the State will therefore unduly burden Meadows’s right to
10   participate in his own defense. The State has no legal basis for its retroactive request to
11   limit defendant Meadows himself from receiving and reviewing information concerning
12   the grand-jury proceedings (including the transcripts which he already has), or to limit
13   him to reviewing the transcripts and exhibits from the proceedings in the presence of his
14   counsel. Willis v. Bernini, 253 Ariz. 453, 460 ¶ 23 (2022) (“Inherent in a fair and
15   impartial hearing [before the grand jury] is the fair and impartial presentation of
16   evidence.”).
17          The Court should deny the State’s Motion for Protective Order.
18
                    RESPECTFULLY SUBMITTED July 2, 2024.
19
                                         MITCHELL | STEIN | CAREY | CHAPMAN, PC
20
21                                       By:    /s/ Anne Chapman

22                                              Anne Chapman
                                                Lee Stein
23                                              George J. Terwilliger III*
24                                              * Pro Hac Vice motion pending
                                                Attorneys for Defendant Mark Meadows
25
26   //

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     Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 102 of 263




 1   ORIGINAL of the foregoing E-FILED
     July 2, 2024, with:
 2
 3   Clerk of the Superior Court
     Maricopa County Superior Court
 4
     COPY of the foregoing
 5   DELIVERED VIA E-FILING
 6   July 2, 2024, to:

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     Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 103 of 263




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     Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 104 of 263




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      /s/ B. Wolcott
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      Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 105 of 263
                                                                          Clerk of the Superior Court
                                                                          *** Electronically Filed ***
                                                                             07/02/2024 8:00 AM
                              SUPERIOR COURT OF ARIZONA
                                  MARICOPA COUNTY

 CR2024-006850-018 DT                                                07/01/2024


                                                              CLERK OF THE COURT
 HONORABLE CHRISTINA HENDERSON                                      E. Ross
                                                                    Deputy



 STATE OF ARIZONA                                    NICHOLAS KLINGERMAN

 v.

 MARK MEADOWS (018)                                  ANNE M CHAPMAN

                                                     COMM. HENDERSON
                                                     VICTIM WITNESS DIV-AG-CCC




                                      MINUTE ENTRY



        The Court is in receipt of Defendant Mark Meadows’ Unopposed Motion to Extend Time
to File Motion to Challenge Grand Jury and Grand Jury Proceedings.

       There being good cause appearing,

       IT IS ORDERED granting the motion and extending the deadline to 09/23/2024.

        All in accordance with the formal written Order signed by the Court on 07/01/2024 and
filed by the Clerk on 07/01/2024.




 Docket Code 016                           Form R000A                                       Page 1
      Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 106 of 263
                                                                Clerk of the Superior Court
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                                                                         7/2/2024 4:05:07 PM
                                                                          Filing ID 18091241
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              IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

                    IN AND FOR THE COUNTY OF MARICOPA

STATE OF ARIZONA,                            Cause No.   CR2024006850-001
                                                         CR2024006850-002
                                                         CR2024006850-003
              Plaintiff,                                 CR2024006850-004
v.                                                       CR2024006850-005
                                                         CR2024006850-006
KELLI WARD (001),                                        CR2024006850-007
TYLER BOWYER (002),                                      CR2024006850-008
                                                         CR2024006850-009
NANCY COTTLE (003),                                      CR2024006850-010
JACOB HOFFMAN (004),                                     CR2024006850-011
ANTHONY KERN (005),                                      CR2024006850-012
JAMES LAMON (006),                                       CR2024006850-013
ROBERT MONTGOMERY (007),                                 CR2024006850-014
                                                         CR2024006850-015
SAMUEL MOORHEAD (008),                                   CR2024006850-016
LORRAINE PELLEGRINO (009),                               CR2024006850-017
GREGORY SAFSTEN (010),                                   CR2024006850-018
MICHAEL WARD (011),
RUDOLPH GIULIANI (012),
JOHN EASTMAN (013),                          PLAINTIFF’S RULE 15.1
                                             SECOND SUPPLEMENTAL
BORIS EPSTHEYN (014),                        DISCLOSURE
JENNA ELLIS (015),
CHRISTINA BOBB (016),
MICHAEL ROMAN (017),                         Honorable Bruce Cohen
MARK MEADOWS (018),

              Defendants.




                                         1
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       The State, pursuant to Arizona Rule of Criminal Procedure 15.1, makes

available the following material and information. All of the materials subject to

disclosure, presently in the State’s possession, are referenced in this document.

Additional disclosure, if any, will be made available as received, in accordance with

Rule 15.6. Any such disclosure may be used in the State’s case-in-chief or as rebuttal

evidence in this case.

       1.     Disclosure Materials

       The following disclosure materials have been uploaded to the AG Fileshare

server and are available for downloading:

EXHIBITS:                                                           BATES No.:

X (TWITTER)
Anthony Kern
   Extracted Kern Subscriber Info
      51740855-account                                              024738
      51740855-account-creation-ip                                  024739
      51740855-ip-audit                                             024740-024970
      51740855-phone-number                                         024971
      Declaration                                                   024972
      README                                                        024973
      Twitter-public-key-gpg.asc                                    024974
   Extracted Kern Tweets
      51740855_tweets_media                                         024976-025028




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                                3
     Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 109 of 263




       51740855-community-tweet                             025029
       51740855-deleted-direct-messages                     025030
       51740855-deleted-direct-messages-group               025031
       51740855-deleted-note-tweet                          025032
       51740855-deleted-tweets                              025033
       51740855-direct-messages                             025034-025036
       51740855-direct-messages-group                       025037
       51740855-note-tweet                                  025038
       51740855-periscope-broadcast-metadata                025039
       51740855-tweets                                      025040-025549
       Declaration                                          025550-025551
       README                                               025552-025557
       Twitter-public-key-gpg.asc                           025558
   anthonykernAZ-51740855-2024-04-05-21-31-12-72399078      025559
   anthonykernAZ-51740855-2024-04-05-21-31-12-72399359      025560
Boris Epshteyn
   Unzipped Files Boris EP                                  025561




  Zipped Files BorisEP-76543481-2024-05-29-23-11-25-7576…   025562




                                     4
     Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 110 of 263




Christina Bobb                                            025563




Jake Hoffman
   Extracted Hoffman Subscriber Info
      1711236257312014336-account                         025564
      1711236257312014336-account-creation-ip             025565
      1711236257312014336-ip-audit                        025566-025653
      1711236257312014336-phone-number                    025654
      Declaration                                         025655
      README                                              025656-025657
      Twitter-public-key-gpg.asc                          025658
   Extracted Hoffman Tweets
      1711236257312014336-community-tweet                 025659
      1711236257312014336-deleted-direct-messages         025660
      1711236257312014336-deleted-direct-messages-group   025661
      1711236257312014336-deleted-note-tweet              025662
      1711236257312014336-direct-tweets                   025663
      1711236257312014336-direct-messages                 025664
      1711236257312014336-direct-messages-group           025665
      1711236257312014336-note-tweet                      025666
      1711236257312014336-periscope-broadcast-metadata    025667
      1711236257312014336-tweets                          025668
      Declaration                                         025669-025670
      README                                              025671-025676
      Twitter-public-key-gpg.asc                          025677
JakeHoffmanAZ-1711236257312014336-2024-04-05-21-31-11-…   025678
JakeHoffmanAZ-1711236257312014336-2024-04-05-21-31-23-…   025679




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      Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 111 of 263




Jenna Ellis                                                025680




Jim Lamon
   Extracted Lamon Subscriber Info
      1381993390968086533-account                         025681
      1381993390968086533-account-creation-ip             025682
      1381993390968086533-ip-audit                        025683-025724
      1381993390968086533-phone-number                    025725
      Declaration                                         025726
      README                                              025727-025728
      Twitter-public-key-gpg.asc                          025728
   Extracted Lamon Tweets
      1381993390968086533-community-tweet                 025729
      1381993390968086533-deleted-direct-messages         025730
      1381993390968086533-deleted-direct-messages-group   025731
      1381993390968086533-deleted-note-tweet              025732
      1381993390968086533-deleted-tweets                  025733
      1381993390968086533-direct-messages                 025734
      1381993390968086533-direct-messages-group           025735
      1381993390968086533-note-tweet                      025736
      1381993390968086533-periscope-broadcast-metadata    025737
      1381993390968086533-tweets                          025738
      Declaration                                         025739-025740
      README                                              025741-025746
      Twitter-public-key-gpg.asc                          025747
   jim_lamon-1381993390968086533-2024-04-05-21-31-10-723… 025748
   jim_lamon-1381993390968086533-2024-04-05-21-38-26-723… 025749




                                      6
     Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 112 of 263




John Eastman                                              025750




Kelli Ward
   Extracted Kelli Ward Subscriber Info
       359403242-account-creation-ip                      025751
       359403242-ip-audit                                 025752-025764
       359403242-phone-number                             025765
       Declaration                                        025766
       README                                             025767-025768
       359403242-account                                  025769
       ~$itter-public-key-gpg.asc                         025770
       twitter-public-key-gpg.asc                         025771
   Extracted Kelli Ward Tweets
       359403242_direct_messages_group_media
          1323422154642378758-2l-QJ-d1                    025772
          1324755761604550660-pcj-8pUw                    025773
       359403242_direct_messages_media
          1324188973955207173-5AqJGr5k                    025774
          1324188973955207173-5AqJGr5k                    025775
          1327097973382148100-wfq9QsGd                    025776
          1327358314762563589-tYhEAIvd                    025777
          1328457818672807940-MYtbDfVP                    025778
          1328457906199560197-c7IR2Ir_                    025779
          1328457957114212356-_eWh381G                    025780
          1322942444090974213-32I4xLl5                    025781
          1323638520909426692-OdCCIzB6                    025782
       359403242-community-tweet                          025783




                                      7
     Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 113 of 263




       359403242-deleted-direct-messages-group            025784
       359403242-deleted- note-tweet                      025785
       359403242-deleted-tweets                           025786
       359403242-direct-messages                          025787-026233
       359403242-direct-messages-group                    026234-026444
       359403242-note-tweet                               026445
       359403242-periscope-broadcast-metadata             026446
       359403242-tweets                                   026447-029529
       Declaration                                        029530-029531
       README                                             029532-029537
       359403242-deleted-direct-messages                  029538-029539
       Twitter-public-key-gpg.asc                         029540
   kelliwardaz-359403242-2024-04-05-21-31-11-72399063     029541
   kelliwardaz-359403242-2024-04-05-22-14-33-72399353     029542
Lorraine Pellegrino
   Extracted Pellegrino Subscriber Info
       76402703-account                                   029543
       76402703-account-creation-ip                       029544
       76402703-ip-audit                                  029545
       76402703-phone-number                              029546
       Declaration                                        029547
       README                                             029548-029549
       Twitter-public-key-gpg.asc                         029550
   Extracted Pellegrino Tweets
       76402703-deleted-direct-messages                   029551
       76402703-deleted-direct-messages-group             029552
       76402703-deleted-note-tweet                        029553
       76402703-deleted-tweets                            029554
       76402703-direct-messages                           029555
       76402703-direct-messages-group                     029556
       76402703-note-tweet                                029557
       76402703-periscope-broadcast-metadata              029558
       76402703-tweets                                    029559
       Declaration                                        029560
       README                                             029561-029566
       Twitter-public-key-gpg.asc                         029567
   lorrainna1-76402703-2024-04-05-21-31-11-72399083       029568
   lorrainna1-76402703-2024-04-05-21-38-23-72399352       029569




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Mark Meadows                                              029570




Mark Meadows (Rep)                                        029571




Mike Roman                                                029572




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Mike Ward
  Extracted Mike Ward Subscriber Info
     448162969-account                                    029573
     448162969-account-creation-ip                        029574
     448162969-ip-audit                                   029575-029577
     448162969-phone-number                               029578
     Declaration                                          029579
     README                                               029580-029581
     Twitter-public-key-gpg.asc                           029582
  Extracted Mike Ward Tweets                              029583
     DDMikeWard-448162969-2024-04-05-21-38-23-72399358
         9ee7e0d4
            9ee7e0d4

        9ee7e0d4fd7

        448162969_tweets_media
           1347900868511690755-3TrUi4VRQKa7j7E9




                                    10
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  DDMikeWard-448162969-2024-04-05-21-31-11-72399074       029584
  DDMikeWard-448162969-2024-04-05-21-38-23-72399358       029585
Nancy Cottle
  Extracted Cottle Tweets
      1038289909_tweets_media
         1325285732299104257-EmRcWaKUYAIuZ7Y              029586
         1325454089266716672-EmT1eEjVcAIHZco              029587
         1328162875899146240-Em6VFmBVEAIr66H              029588
         1330277511922651137-3CQJvC4pLDjqHsaj             029589
         1330534060926541824-GdMS_QBAZh_VCX2K             029590
         1331742660768493569-ezxq1BGI6kApvLVu             029591
         1336321741174423553-EosF84OUUAI1aNq              029592
         1340527691628306434-EpnCRaDUwAEv8bx              029593
         1342592978037043202-EqHZMrpUUAAvHtv              029594
         1342843905683820545-EqK9aj9VgAABTxL              029595
      1038289909-community-tweet                          029596
      1038289909-deleted-direct-messages                  029597
      1038289909-deleted-direct-messages-group            029598-029603
      1038289909-deleted-note-tweet                       029604
      1038289909-deleted-tweets                           029605
      1038289909-direct-messages                          029606
      1038289909-direct-messages-group                    029607-029616
      1038289909-note-tweet                               029617
      1038289909-periscope-broadcast-metadata             029618
      1038289909-tweets                                   029619-029924
      Declaration                                         029925-029926
      README                                              029927-029932
      Twitter-public-key-gpg.asc                          029933
  Extracted Cottle X Subscriber Info
      1038289909-account                                  029934
      1038289909-account-creation-ip                      029935
      1038289909-ip-audit                                 029936-029959
      1038289909-phone-number                             029960
      Declaration                                         029961
      README                                              029962-029963
      Twitter-public-key-gpg.asc                          029964
  NancyCottle1-1038289909-2024-04-05-21-31-11-72399081    029965
  NancyCottle1-1038289909-2024-04-05-21-46-08-72399355    029966
Sam Moorhead
  Extracted Moorhead Subscriber Info
      1500981167989821440-account                         029967




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     1500981167989821440-account-creation-ip            029968
     1500981167989821440-ip-audit                       029969-030095
     1500981167989821440-phone-number                   030096
     Twitter-public-key-gpg.asc                         030097
     ~$itter-public-key-gpg.asc                         030098
  Extracted Moorhead Tweets
     1500981167989821440-community-tweet                030099
     1500981167989821440-deleted-direct-messages        030100
     1500981167989821440-deleted-direct-messages-group  030101
     1500981167989821440-deleted-note-tweet             030102
     1500981167989821440-deleted-tweets                 030103
     1500981167989821440-direct-messages                030104
     1500981167989821440-direct-messages-group          030105
     1500981167989821440-note-tweet                     030106
     1500981167989821440-periscope-broadcast-metadata   030107
     1500981167989821440-tweets                         030108
     Declaration                                        030109-030110
     README                                             030111-030116
     Twitter-public-key-gpg.asc                         030117
  samuel_moorhead-1500981167989821440-2024-04-05-21-31… 030118
  samuel_moorhead-1500981167989821440-2024-04-05-21-38… 030119
Rudy Giuliani                                           030120




Tyler Bowyer
   Extracted Bowyer Subscriber Info
       98906083-account                                   030121
       98906083-account-creation-ip                       030122




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   98906083-ip-audit                                   030123-030543
   98906083-phone-number                               030544
   Declaration                                         030545
   README                                              030546-030547
   Twitter-public-key-gpg.asc                          030548
Extracted Bowyer Tweets
   98906083_dm_group_media                             030549-030557




   98906083_dm_media                                   030558-030625




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98906083_tweets_media                                030626-030942




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98906083-community-tweet                             030943
98906083-deleted-direct-messages                     030944-030955
98906083-deleted-direct-messages-group               030956
98906083-deleted-note-tweet                          030957
98906083-deleted-tweets                              030958
98906083-direct-messages                             030959-031478
98906083-direct-messages-group                       031479-031526
98906083-note-tweet                                  031527
98906083-periscope-broadcast-metadata                031528
98906083-tweets                                      031529-033950
Declaration                                          033951-034470



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       README                                              034471-034476
       Twitter-public-key-gpg.asc                          034477
   tylerbowyer-98906083-2024-04-05-21-31-13-72399084       034478
   tylerbowyer-98906083-2024-04-05-21-54-10-72399360       034479

ANDREW HITT
Andrew Hitt Interview Audio Jun 11 2024                    034480

CASSIDY HUTCHINSON #3
Cassidy Hutchinson Int 3 3-26-24                           034481

GREG JACOBS #2
Greg Jacobs Emails (Supplement 27)                         034482-034483

JENNA ELLIS #2
001.139_20201201_YS_11-30-20.pdf (1)                       034484-034490
Jenna Ellis J6 Deposition 3-8-22                           034491-034556
Bobb J6 Excerpts                                           034557-034560
Boris telling everyone press release                       034561-034565
Bowers J6 Excerpts                                         034566-034568
Ellis and Nancy Cottle                                     034569
Ellis Bob Tweet                                            034570
Ellis December 22 Plenary Power Tweet                      034571
Ellis Exhibits from June 17 2024 Interview                 034572-034646
Ellis Nov Tweet Promoting Hearings                         034647
Ellis November OAN Interview about Hearings in AZ          034648-034653
Ellis Post Arizona Hearing Tweet                           034654
Ellis Stop the Steal Tweet 12-21-2020                      034655-034656
Ellis Tweet Election was Stolen                            034657
Ellismemos                                                 034658-034660
Epshteyn Communication Timeline_WORKING                    034661
Giuliani J6 Excerpts                                       034662-034665
Herschmann J6 Excerpts                                     034666-034669
Hodgson J6 Excerpts                                        034670-034672
Kerik J6 Excerpts                                          034673-034678
Kerin Retweeting ellis on stop the steal                   034679
Miller group text 2020 12 1                                034680-034689
Miller J6 Excerpts                                         034690-034891
Waldron PowerPoint                                         034892-034927
Jenna Ellis interview                                      034928




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LORAINE PELLEGRINO #2
Interview 6-15-24
    Loraine Pellegrino #1                                   034929
    Loraine Pellegrino #3 (1)                               034930
    Loraine Pellegrino #3 (2)                               034931
    lorraine pellegrino news statement                      034932
    Pellegrino Stuff                                        034933-034960
    Safsten CDR with Lee Miller                             034961-034974
001.11_20210105 AZGOP Update Decertify                      034975
001.13_20210105 Google Alert Loraine Pellegrino             034976
001.100_20201203 Rae - 11-24-20                             034977-034982
001.100_20201203 Rae                                        034983
001.101_20201203 Fwd What next Request To Speak trainin     034984-034985
001.102_20201203 Fwd Who we need to contact All AZ Rep      034986-034987
001.102_20201203 Arizona State Legislators                  034988
001.102_20201203 AZ Leg Do You Have The Will                034989
001.103_20201203_Board_Resignation                          034990
001.104_20201203                                            034991
001.105_20201203_AZGOP_Update_Our_Next_Steps                034992
001.106_20201203_social_media                               034993
001.108_20201202_Fwd_ - proxy                               034994
001.108_20201202_Fwd_ - Untitled attachment 00023           034995
001.108_20201202_Fwd                                        034996
001.109_20201202 Your Tickets for December Executive Comm 034997-034999
001.109_20201202 131389289903-1545323539-ticket             035000-035001
001.110_20201202 RSVP Executive Committee Meeting Saturda 035002-035003
001.111_20201202_PVRW_December_Newsletter                   035004-035008
001.112_20201202_- LD18_Sign_In_Sheet_2020 12 02            035009
001.112_20201202                                            035010
001.113_20201202_Fwd_Robert_s_Rules_on_Approving_Meeting 035011-035012
001.114_20201202_ - Tyranny of the Administrative State AdT 035013
001.114_20201202                                            035014
001.115_20201202 IMPORTANT REMINDERS                        035015-035016
001.116_20201202_Congrats                                   035017
001.117_20201202_Fwd_Your_Debit_Card_Transactions_Refund 035018
001.118_20201202_Re_Robert_s_Rules_on_Approving             035019
001.119_20201202_Robert_s_Rules_on_Approving                035020
001.120_20201202_Fwd_Your_Debit_Card_Transactions_Refund 035021
001.121_20201202_Re_Your_Debit_Card_Transactions_Refund     035022
001.123_20201202_Prayer                                     035023
001.123_20201202_Prayer – novprayer                         035024
001.124_20201202_FW_ARIZONA_FEDERATION                      035025




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001.125_20201202_Who_we_need_to_ocntact                   035026
001.125_20201202 Arizona State Legislators                035027
001.125_20201202 AZ Leg Do You Have The Will              035028
001.127_20201202_Fwd_What_s_next_Request_To_Speak_trainin 035029-035030
001.128_20201201_Re_On_behalf_of_Sidney_Powell            035031-035033
001.128_20201201 AZ DTR Engagement Agreement              035034
001.129_20201201_Re_On_behalf_of_Sidney_Powell            035035-035036
001.129_20201201 AZ DTR Engagement Agreement copy         035037
001.131_20201201_Re_On_behalf_of_Sidney_Powell            035038-035039

MARK MEADOWS
Mark Meadows texts (Edited AZ references)                             035040-035051

       2.     State’s Request for Disclosure

       The State requests all disclosure required under Arizona Rule of Criminal

Procedure 15.2(a)(1)(A)(H) and (e)(7)(A)-(B).

       3.     Continuing Disclosure

       The State will continue to disclose evidence and/or witnesses it plans to use

at the trial in this matter, as required pursuant to Rule 15.6.

       RESPECTFULLY SUBMITTED this 2nd day of July, 2024.

                                            KRISTIN K. MAYES
                                            Attorney General


                                            /s/Nicholas Klingerman
                                            NICHOLAS KLINGERMAN
                                            Assistant Attorney General


Original of the foregoing e-filed this
2nd day of July, 2024, via:

Maricopa County Superior Court
efilingonline.clerkofcourt.maricopa.gov




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A copy of the foregoing document
emailed, with attachments made available
via the AG fileshare server, this 2nd
day of July, 2024, to:

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Counsel for J. Ellis 015                      Counsel for C. Bobb 016

///




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                                                                            Clerk of the Superior Court
                                                                            *** Electronically Filed ***
                                                                               07/03/2024 8:00 AM
                               SUPERIOR COURT OF ARIZONA
                                   MARICOPA COUNTY

 CR2024-006850-018 DT                                                  07/01/2024


                                                               CLERK OF THE COURT
 HONORABLE JENNIFER E. GREEN                                        B. Navarro
                                                                     Deputy



 STATE OF ARIZONA                                     NICHOLAS KLINGERMAN
                                                      JESSICA FOTINOS

 v.

 MARK MEADOWS (018)                                   ANNE M CHAPMAN
                                                      LEE D STEIN

                                                      GRAND JURY CLERKS
                                                      JUDGE GREEN
                                                      VICTIM WITNESS DIV-AG-CCC




                                 NUNC PRO TUNC ORDER

                                      MINUTE ENTRY

         The Court has been contacted by the Clerk’s Office regarding the June 11, 2024 Order
(file date) granting defense counsel permission to temporarily remove grand jury exhibits from
the custody of the Clerk’s Office for 7 days. The Clerk’s Office has informed the Court that the
grand jury exhibits in this case consist of flash drives, large-format documents, and a large
binder containing approximately 500-700 pages.

         The Court is aware there are 18 defendants in this case. Due to the number of defendants
in this case and because of the nature of the grand jury exhibits, the Court has issued previous
orders as to co-defendants that restricted defense counsel to viewing the grand jury exhibits
inside the courthouse with a Clerk’s Office employee present rather than allowing the exhibits to
leave the courthouse. The Court finds the orders should be consistent and is concerned that
exhibits checked out temporarily by one defense team would unnecessarily delay a request to
view the same exhibits from another defense team. The Court will follow that process in this
case.

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                               SUPERIOR COURT OF ARIZONA
                                   MARICOPA COUNTY

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      IT IS ORDERED, nunc pro tunc, modifying the order filed June 11, 2024 regarding
temporary release of grand jury exhibits to defense counsel.

       IT IS FURTHER ORDERED allowing defense counsel to make an appointment with
the Clerk’s Office to view the grand jury exhibits with an employee of the Clerk’s Office
present.

        IT IS FURTHER ORDERED that the Clerk’s Office will follow its previous protocol
utilized with co-defendants’ defense counsel in allowing counsel in this case to view the grand
jury exhibits.

        IT IS FURTHER ORDERED that this nunc pro tunc order does not affect the separate
order as to the grand jury transcript.




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                                                                           Clerk of the Superior Court
                                                                           *** Electronically Filed ***
                                                                              07/08/2024 8:00 AM
                              SUPERIOR COURT OF ARIZONA
                                  MARICOPA COUNTY

 CR2024-006850-018 DT                                                07/05/2024


                                                              CLERK OF THE COURT
 HONORABLE BRUCE R. COHEN                                         D. MacErnie
                                                                     Deputy



 STATE OF ARIZONA                                    NICHOLAS KLINGERMAN

 v.

 MARK MEADOWS (018)                                  ANNE M CHAPMAN

                                                     VICTIM WITNESS DIV-AG-CCC
                                                     JUDGE BRUCE COHEN




                    PRELIMINARY CASE MANAGEMENT ORDER
                   PROTECTIVE ORDER AND EXTENSION OF TIME
                           TRAVEL AUTHORIZATION

        This matter is now assigned to this division. Upon receiving notice of the assignment,
this court reviewed the court record, which showed that a number of substantive and procedural
pleadings have already been filed. Consistent with the regular processing of multi-defendant
cases in this Court, an overall case plan is developed. The purpose of this minute entry is to
begin that process.

                            Complex Case Scheduling Conference

        Following an Initial Pretrial Conference, all cases designated as complex are set for a
Complex Case Scheduling Conference (“CCSC”). At the CCSC, the court and counsel focus on
overall case management, including determining a realistic trial date.

      IT IS ORDERED setting this matter for Complex Case Scheduling Conference for
August 26, 2024 at 9:00 am in this division. Proceedings set before this division are routinely
conducted in courtroom 6B of the South Court Tower. However, given the number of parties
involved in this matter, this August 26 proceeding only shall be conducted in Courtroom 5A of
the South Court Tower, which better accommodates the parties.

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                                 SUPERIOR COURT OF ARIZONA
                                     MARICOPA COUNTY

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      IT IS FURTHER ORDERED that all parties shall appear in-person for the
CCSC. Absent extraordinary circumstances, no virtual appearance or waiver of appearance shall
be considered.

        At the CCSC, there shall be discussion about future case management
conferences. Some of those conferences may proceed as a “non-appearance” Complex Case
Management Conference, where parties submit a detailed, written report on the case status rather
than appear personally in court. Other proceedings may require parties to appear but, when they
are anticipated to be procedural in nature, this court routinely grants requests for virtual
appearances for any out-of-state defendants for those future Complex Case Management
Conferences.

                                       Vacating of Hearing

        For some defendants, a Status Conference was set by another judicial officer for August 1,
2024.

      IT IS ORDERED vacating the August 1, 2024 Status Conference in favor of the CCSC set
above.

                                   Pro Hac Vice Representation

     By separate orders, this Court has granted motions filed by Defendants Bowyer (002) and
Defendant Meadows (018) to associate counsel, pro hac vice.

                                        Extension of Time

        This Court is in receipt of unopposed motions to extend time for the filing of Motions To
Dismiss and Motions to Challenge Grand Jury Proceedings from some of the named
defendants. It is anticipated that others may seek a similar extension. Rather than requiring the
filing of separate motions, the court is issuing a blanket extension.

      IT IS ORDERED that the deadline for the filing of any Motion To Dismiss, Motion To
Remand, or Motion To Challenge Grand Jury is extended until September 23, 2024 for each
named defendant, whether the extension has been sought or not. Nothing prevents any party
from seeking such relief earlier than the deadline herein.




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                                   MARICOPA COUNTY

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                                      Page Limit Extension

       There has been a motion filed by Defendant Lamon (006) to exceed page limitation on his
motion to dismiss, which is hereby granted. It is anticipated that other parties may be seeking
similar relief. Rather than requiring separate motions, which will cause delay, this Court is
electing to grant leave to all parties.

       IT ORDERED granting the expansion of the page limitation for motions to dismiss and
any responsive pleading thereto to a presumptive total of 25 pages. This expansion of the page
limits on motions to dismiss shall apply to all parties to this proceeding. Any further expansion
of the page limitation shall require an order of the court.

                                        Pending Motions

       The Court has identified a number of motions that have already been filed. Those motions
are not yet fully briefed. However, it is anticipated that many of the motions shall be ripe for
judicial determination by the date of the CCSC.

        This court is reserving time for motions to be argued during the CCSC. To facilitate
those matters, this court is setting aside the times of 9 am to noon and 1:30 pm to 4:30 pm on
August 26, 2024 to hear oral argument or conduct an evidentiary hearing on any motions ready
for determination.

      With this plan, there must be coordination as to how the motions shall be considered,
including its sequencing. To assist with this process,

       IT IS ORDERED that the parties shall confer and create a joint pleading entitled “Notice
of Pending Motions.” It shall be filed no later than August 1, 2024. The pleading shall include
the following:

      Identification of each pending motion before the court, including the names of the
       specific defendants who are the subject of the motion or who have joined in the
       motion. Further, the notice shall include a statement as to whether the motion is fully
       briefed and, if not, by what date it shall be fully briefed.
      Whether the motion can be decided based on the pleadings filed or whether oral argument
       is sought. If there is to be oral argument, the court will assume that the oral argument
       shall be conducted on August 26, 2024 unless otherwise requested by the parties. If any
       motion requires an evidentiary hearing, the parties shall detail the scope of the hearing,
       the anticipated length of time needed for the hearing, and whether it may be conducted as

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                               SUPERIOR COURT OF ARIZONA
                                   MARICOPA COUNTY

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       part of the August 26, 2024 proceedings. The notice shall further identify which specific
       defendants are subject to each pending motion.
      Identification of any motions that are now moot given the orders contained herein.
      A list of other motions that are anticipated to be filed within the following 90 days so that
       appropriate scheduling can be addressed at the CCSC.

                              States’ Motion For Protective Order

      The State filed a Motion For Protective Order on June 14, 2024. The Court has reviewed
the Motion, along with opposition thereto and joinder in the opposition from various
defendants. The motion will require oral argument, which shall be conducted on August 26,
2024.

      However, it is noted that any delay in ruling will delay the opportunities for defendants to
review documentation critical to motions that either have or may be filed. To ensure the right to
be heard and to avoid delay,

      IT IS ORDERED granting the State’s Motion For Protective Order, without
prejudice. At the time of oral argument, the Court shall consider the substantive propriety of
any protective order and may rescind this order or modify its terms. Until then,

       IT IS ORDERED as follows:

       1. Counsel for each defendant shall maintain the State Grand Jury transcripts and
          exhibits from the State in defense counsels’ custody. Defense counsel may scan,
          reproduce, and disclose such information only to support staff, defense investigators,
          agents and/or experts (the “defense team”) as necessary for the purposes of the
          defense of this case. Members of the defense teams receiving such information shall
          not reproduce or disseminate any discovery materials without further order of the
          Court. The defendants may review the grand jury transcripts and exhibits in the
          presence of defense counsel of other members of the defense teams. No defendant
          may retain or copy the grand jury transcripts and exhibits or remove them from the
          office of the defense team. All copies must be secure so as to reasonably prevent
          loss, theft, or accidental disclosure in any fashion to any person or entity outside of
          the scope of this authorization.
       2. Defense counsel shall maintain a copy of this order and shall ensure that the State
          Grand Jury transcripts and exhibits are identified in any case management systems as
          being subject to this protective order.
       3. This discovery is for use in the defense of this criminal case only and not for any
          other proceedings, unless and until otherwise ordered by the Court.
 Docket Code 023                             Form R000A                                       Page 4
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                               SUPERIOR COURT OF ARIZONA
                                   MARICOPA COUNTY

 CR2024-006850-018 DT                                                  07/05/2024


       4. The names or other identifying information of any Grand Jurors shall be redacted.

                                        Media Coverage

      Representatives of various media outlets appear to have already made inquiries about
video and photographic coverage of the proceedings. As is this Court’s practice in all cases
before it, court proceedings are public and absent just cause, the Court allows for media coverage
of proceedings. The parties are therefore on notice that absent a sustained objection to media
coverage in advance of August 26, 2024, this Court will be granting media coverage, to include
video recording of the proceedings. Any objection to such coverage shall be filed no later than
August 1, 2024.

                                      Travel Authorization

       Defendant Nancy Cottle (003) filed a motion on July 3, 2024 seeking permission to travel
to Wisconsin to attend the Republican National Convention scheduled for the week of July 15,
2024. The court recognizes that there may be other named defendants seeking similar relief.

       Good cause appearing,

       IT IS ORDERED granting Defendant Cottle (and any other named defendant in this
matter who may need a similar order) permission to travel to Wisconsin to attend the Republican
National Convention scheduled for the week of July 15, 2024.

                            Notice of Long-Term Case Management

      The parties are hereby on notice that this court shall continue to manage this case through
December 31, 2024. It is anticipated that as of January 1, 2025, another judicial officer
shall be assuming management of the case.




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      Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 143 of 263
                                                                Clerk of the Superior Court
                                                                      *** Electronically Filed ***
                                                                          T. Alameda, Deputy
                                                                        7/12/2024 12:27:17 PM
                                                                          Filing ID 18144340
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Attorneys for Plaintiff

              IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

                    IN AND FOR THE COUNTY OF MARICOPA

STATE OF ARIZONA,                            Cause No.   CR2024006850-001
                                                         CR2024006850-002
              Plaintiff,                                 CR2024006850-003
v.                                                       CR2024006850-004
                                                         CR2024006850-005
KELLI WARD (001),                                        CR2024006850-006
TYLER BOWYER (002),                                      CR2024006850-007
NANCY COTTLE (003),                                      CR2024006850-008
JACOB HOFFMAN (004),                                     CR2024006850-009
ANTHONY KERN (005),                                      CR2024006850-010
JAMES LAMON (006),                                       CR2024006850-011
ROBERT MONTGOMERY (007),                                 CR2024006850-012
SAMUEL MOORHEAD (008),                                   CR2024006850-013
LORRAINE PELLEGRINO (009),                               CR2024006850-014
GREGORY SAFSTEN (010),                                   CR2024006850-015
MICHAEL WARD (011),                                      CR2024006850-016
RUDOLPH GIULIANI (012),                                  CR2024006850-017
JOHN EASTMAN (013),                                      CR2024006850-018
BORIS EPSTHEYN (014),
JENNA ELLIS (015),
CHRISTINA BOBB (016),                        PLAINTIFF’S RULE 15.1
                                             SGJ DISCLOSURE
MICHAEL ROMAN (017),
MARK MEADOWS (018),
                                             Hon. Bruce Cohen
              Defendants.




                                         1
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       The State, pursuant to Arizona Rule of Criminal Procedure 15.1, makes

available the following material and information. All of the materials subject to

disclosure, presently in the State’s possession, are referenced in this document.

Additional disclosure, if any, will be made available as received, in accordance with

Rule 15.6. Any such disclosure may be used in the State’s case-in-chief or as rebuttal

evidence in this case.

       Defense counsel shall maintain the State Grand Jury transcripts and exhibits from

the State in defense counsels’ custody. Defense counsel may scan, reproduce and disclose

such information only to support staff, defense investigators, agents and/or experts (the

“defense team”) as necessary for purposes of the defense of this case. Members of the

defense teams receiving such information shall not reproduce or disseminate any

discovery materials without further order of the Court. The defendants may review the

grand jury transcripts and exhibits in the presence of defense counsel or other members of

the defense teams. The parties agree that review at the office of defense counsel

constitutes being the presence of the defense team for purposes of this Order. The

defendant may not retain a copy of the grand jury transcripts and exhibits. Any copies

must be kept secure so as to reasonably prevent loss, theft, or accidental disclosure to

third parties.

       1.        Disclosure Materials

       The following disclosure materials have been uploaded to the AG Fileshare

server and are available for downloading:




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EXHIBITS:                                                      BATES No.:

SGJ TRANSCRIPTS
1. 2024-01-16_Redacted                                         SGJ000001-SGJ000110
2. 2024-01-22_Redacted                                         SGJ000111-SGJ000185
3. 2024-01-29_Redacted                                         SGJ000186-SGJ000291
4. 2024-02-20_Redacted                                         SGJ000292-SGJ000363
5. 2024-02-26-am scheduling_Redacted                           SGJ000364-SGJ000372
6. 2024-02-26_Redacted                                         SGJ000373-SGJ000482
7. 2024-03-04 Daily Admonitions_Redacted                       SGJ000483-SGJ000487
8. 2024-03-04_Redacted                                         SGJ000488-SGJ000713
9. 2024-03-11_Redacted                                         SGJ000714-SGJ000719
10. 2024-03-18_Redacted                                        SGJ000720-SGJ000873
11. 2024-03-19_Redacted                                        SGJ000874-SGJ000878
12. 2024-03-25_Redacted                                        SGJ000879-SGJ001041
13. 2024-03-26_Redacted                                        SGJ001042-SGJ001053
14. 2024-04-01_Redacted                                        SGJ001054-SGJ001062
15. 2024-04-08 Daily Admonitions_Redacted                      SGJ001063-SGJ001067
16. 2024-04-08 2nd part_Redacted                               SGJ001068-SGJ001208
17. 2024-04-09 Daily Admonitions_Redacted                      SGJ001209-SGJ001213
18. 2024-04-09_Redacted                                        SGJ001214-SGJ001333
19. 2024-04-15_Redacted                                        SGJ001334-SGJ001345
20. 2024-04-16_Redacted                                        SGJ001346-SGJ001351
21. 2024-04-22_Redacted                                        SGJ001352-SGJ001488
22. 2024-04-23_Redacted                                        SGJ001489-SGJ001531

SGJ EXHIBITS
Ex 1 01 16 2024 Power Point                                    SGJ001532-SGJ001604
Ex 2 01 22 2024 Power Point                                    SGJ001605-SGJ001615
Ex 3 01 29 2024 Power Point                                    SGJ001616-SGJ001634
Ex 4 CV 2020-015285 Decision Order Filed 12 08 2020            SGJ001635-SGJ001641
Ex 5 2 20 2024 Power Point State Grand Jury Subpoenae…         SGJ001642-SGJ001659
Ex 6 02 20 2024 Power Point Completed Investigative Int…       SGJ001660-SGJ001675
Ex 7 January 6 Executive Summary                               SGJ001676-SGJ001868
Ex 8 02 26 2024 Power Point                                    SGJ001869-SGJ001936
Ex 8 Slide 29 Did you bring the evidence                       SGJ001937
Ex 8 Slide 30 Give the man what he needs, Rudy                 SGJ001938
Ex 8 Slide 31 We've got lots of theories, we just don't hav…   SGJ001939
Ex 8 Slide 32 Bowers emotionally describes threats from…       SGJ001940
Ex 8 Slide 56 Hail the Chief                                   SGJ001941
Ex 9 03 04 2024 Power Point                                    SGJ001942-SGJ002049
Ex 9 Slide 33 Jake Hoffman interviewed by reporter on J…       SGJ002050




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     Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 146 of 263




Ex 9 Slide 42 Anthony Kern Interview with Epoch Time… SGJ002051
Ex 9 Slide 47 Anthony Kern sidesteps question from repo… SGJ002052
Ex 9 Slide 48 Anthony Kern                                SGJ002053
Ex 9 Slide 58 Anthony Kern speaks at Stop the Steal in D… SGJ002054
Ex 9 Slide 61 Jim Lamon interview on Politics Unplugged… SGJ002055
Ex 10 Fake Electors' Memorandum and Mailings to the Pr… SGJ002056-SGJ002060
Ex 11 Arizona Certificate of Ascertainment 11 30 2022 Ce… SGJ002061-SGJ002067
Ex 12 Document signed 12 14 2020 by legislators and me… SGJ002068-SGJ002072
Ex 13 Letter from Vice President Pence 01 06 2021         SGJ002073-SGJ002075
Ex 14 SGJ diagram Rings 03 04 2024                        SGJ002076
Ex 15 SGJ diagram List of Individuals 03 04 2024          SGJ002077-SGJ002080
Ex 16 SGJ diagram Individuals from Exhibit 12 03 04 2024 SGJ002081
Ex 17 SGJ diagram List of possible charges 03 04 2024     SGJ002082
Ex 18 03 18 2024 Power Point                              SGJ002083-SGJ002150
Ex 18 Slide 42 Pence Lawyer warned Trump adviser          SGJ002151
Ex 18 Slide 43 Pence lawyer warned Trump adviser          SGJ002152
Ex 18 Slide 44 Pence lawyer warned Trump adviser          SGJ002153
Ex 18 Slide 45 Eastman and Giuliani                       SGJ002154
Ex 18 Slide 66 Rusty Bowers                               SGJ002155
Ex 18 Slide 68 January 6 Committee Interview              SGJ002156
Ex 19 Text Message Chain between Miller, Clark and Mur… SGJ002157-SGJ002166
Ex 20 Eastman Memo dated 12 23 2020                       SGJ002167-SGJ002168
Ex 21 Eastman Memo dated 01 03 2021                       SGJ002169-SGJ002173
Ex 22 Grand Jury Media Exhibits                           SGJ002174-SGJ002191
Ex 23 Anthony Kern Press Conference held 03 25 2024, t… SGJ002192-SGJ002193
Ex 23 Anthony Kern video                                  SGJ002194
Ex 24 03 25 2024 Power Point                              SGJ02195-SGJ002199
Ex 25 SGJ Diagram Timeline and Target List 03 25 2024     SGJ002200-SGJ002203
Ex 26 Letter from counsel of Jake Hoffman                 SGJ002204-SGJ002233
Ex 27 04 08 2024 Power Point                              SGJ002234-SGJ002260
Ex 28 Draft Indictment 04 08 2024                         SGJ002261-SGJ002317
Ex 29 Slide 53 Kelli Ward                                 SGJ002318-SGJ002386
Ex 29 Slide 69 Kern at Stop the Steal January 6           SGJ002387
Ex 29 Timeline Power Point 04 08 2024                     SGJ002388
Ex 30 04 22 2024 Power Point                              SGJ002389-SGJ002400
Ex 30 Slide 6 Judge Michael Luttig                        SGJ002401
Ex 30 Slide 7 Rusty Bowers                                SGJ002402
Ex 31 04 22 2024 Power Point                              SGJ002403-SGJ002434

      2.    State’s Request for Disclosure

      The State requests all disclosure required under Arizona Rule of Criminal




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Procedure 15.2(a)(1)(A)(H) and (e)(7)(A)-(B).

       3.     Continuing Disclosure

       The State will continue to disclose evidence and/or witnesses it plans to use

at the trial in this matter, as required pursuant to Rule 15.6.

       RESPECTFULLY SUBMITTED this 12th day of July, 2024.

                                            KRISTIN K. MAYES
                                            Attorney General


                                            /s/Nicholas Klingerman
                                            NICHOLAS KLINGERMAN
                                            Assistant Attorney General




Original of the foregoing e-filed this
12th day of July, 2024, via:

Maricopa County Superior Court
efilingonline.clerkofcourt.maricopa.gov

A copy of the foregoing document
emailed, with attachments made available
via the AG fileshare server, this 12th
day of July, 2024, to:

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      Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 148 of 263




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      Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 149 of 263
                                                                           Clerk of the Superior Court
                                                                           *** Electronically Filed ***
                                                                              07/15/2024 8:00 AM
                              SUPERIOR COURT OF ARIZONA
                                  MARICOPA COUNTY

 CR2024-006850-018 DT                                                07/12/2024


                                                              CLERK OF THE COURT
 HONORABLE BRUCE R. COHEN                                           S. Allen
                                                                    Deputy



 STATE OF ARIZONA                                    NICHOLAS KLINGERMAN

 v.

 MARK MEADOWS (018)                                  ANNE M CHAPMAN

                                                     JUDGE BRUCE COHEN
                                                     VICTIM WITNESS DIV-AG-CCC




                                      MINUTE ENTRY


       The Court having received and considered Defendant Mark Meadows’ Motion for
Permission to File Sur-Reply in Opposition to State’s Motion for Protective Order, filed
07/02/2024, and good cause shown,

       IT IS ORDERED granting Defendant’s Motion.




 Docket Code 023                           Form R000A                                        Page 1
     Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 150 of 263
                                                               Clerk of the Superior Court
                                                                     *** Electronically Filed ***
                                                                        A. Williams, Deputy
                                                                       7/16/2024 11:41:56 PM
                                                                         Filing ID 18164160
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         IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
               IN AND FOR THE COUNTY OF MARICOPA

THE STATE OF ARIZONA,                           Case No.: CR2024-006850-001
           Plaintiff,                                     CR2024-006850-002
vs.                                                       CR2024-006850-003
                                                          CR2024-006850-004
KELLI WARD (001),                                         CR2024-006850-005
TYLER BOWYER (002),                                       CR2024-006850-006
NANCY COTTLE (003),                                       CR2024-006850-007
JACOB HOFFMAN (004),                                      CR2024-006850-008
ANTHONY KERN (005),                                       CR2024-006850-009
JAMES LAMON (006),                                        CR2024-006850-010
ROBERT MONTGOMERY (007),                                  CR2024-006850-011
SAMUEL MOORHEAD (008),                                    CR2024-006850-012
LORRAINE PELLEGRINO (009),                                CR2024-006850-013
GREGORY SAFSTEN (010),                                    CR2024-006850-014
MICHAEL WARD (011),                                       CR2024-006850-015
RUDOLPH GIULIANI (012),                                   CR2024-006850-016
JOHN EASTMAN (013),                                       CR2024-006850-017
BORIS EPSHTEYN (014),                                    CR2024-006850-018 X
JENNA ELLIS (015),
CHRISTINA BOBB (016),                       AMENDED NOTICE OF INTENT TO
MICHAEL ROMAN (017),                        FILE RESPONSE TO DEFENDANTS’
MARK MEADOWS (018),                         MOTIONS TO DISMISS PURSUANT
          Defendants.                               TO A.R.S. § 12-751
                                                            AND
                                               AMENDED REQUEST TO SET
                                             OMNIBUS BRIEFING SCHEDULE
                                                  (Expedited Ruling Requested)
                                            (Assigned to the Honorable Bruce Cohen)

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       Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 151 of 263




       The State of Arizona, through undersigned counsel, hereby provides the Court

with an amended notice of its intent to file a response to Defendants’ Motions to Dismiss

under A.R.S. § 12–751, based on the Court’s July 5, 2024 case scheduling minute entry.

As stated in the State’s previous filing, although the State is not required to file a

response concerning the prima facie component of Arizona’s anti-SLAPP statute, A.R.S.

§ 12–751(B), the State would like an opportunity to address Defendants’ arguments given

that they raise a matter of first impression and public importance.1

       Since the filing of the State’s initial notice, the Court set a universal response

deadline of September 23, 2024 for motions to dismiss under A.R.S. § 12–751. Based on

this new information, as well as the interests of judicial economy and efficiency, the State

now requests it be permitted to file its response 15 days after the Court’s deadline, or

October 8, 2024. See Ariz. R. Crim. P. 1.9(b) (response to be filed ten days after

service); 1.10(a)(5) (five calendar days are added if served through electronic filing).

                                      DISCUSSION

       “A trial court has broad discretion over the management of its docket.” Findlay v.

Lewis, 172 Ariz. 343, 346 (1992); see also Ariz. R. Crim. P. 1.9(d); State v. Colvin, 231

Ariz. 269, 271, ¶ 7 (App. 2013) (“Trial courts have discretion to extend the time for filing

motions . . . .”).




1
  The State reserves its right, as provided by A.R.S. § 12–751, to separate address the
stage of the anti-SLAPP statute should the Court find the Defendants’ have met their
prima facie burden under the first stage.

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      As outlined in the State’s previous filing on this issue, numerous defendants have

submitted Motions to Dismiss invoking A.R.S. § 12–751, or have sought the Court’s

approval to extend the deadline to file their anti-SLAPP motions. To serve the interests of

judicial economy, the Court granted those extension requests and set a general deadline

for all defendants to submit a Motion to Dismiss under A.R.S. § 12–751 by September

23, 2024. Given these circumstances, as well as the overlapping legal arguments and

factual issues presented so far and likely to be presented in each motion, the State

believes that a single, omnibus response, followed by a single reply deadline for all

defendants, provides the most efficient method to resolve the motions. Doing so will, for

example:

      (1) Allow motions to be addressed on a single timeline, rather than
          piecemeal;

      (2) Avoid potentially redundant oral arguments or other hearings;

      (3) Permit the Court to issue a single decision if it so desires; and

       (4) Greatly simplify the logistics of any special action or appeal, should
           any party seek review of the Court’s ruling.

       Accordingly, the State respectfully requests that the Court permit the State to file

an omnibus response to all Defendants’ Motions to Dismiss under A.R.S. § 12–751 on

the following schedule:

    State’s Response Deadline for All Motions to Dismiss under A.R.S. § 12–
     751: October 8, 2024

    Defendants’ Reply Deadline for All Motions to Dismiss Under A.R.S.
     § 12–751: October 16, 2024, subject to change if any Defendant later seeks
     additional time to reply.


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      Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 153 of 263




Of course, if all Defendants submit anti-SLAPP Motions (or indicate they do not plan to

file an anti-SLAPP Motion) before the Court’s September 23, 2024 deadline, the State

will file an omnibus response according to the Arizona Rules of Criminal Procedure.


                                    CONCLUSION


      For the reasons stated above, the State requests the Court allow the State to file a

limited response to the prima facie component of Defendants’ Motions to Dismiss under

A.R.S. § 12–751 following the Court’s deadline of September 23, 2024.


             Respectfully submitted July 16, 2024.

                                               KRISTIN K. MAYES
                                               ATTORNEY GENERAL

                                               /s/ Nicholas Klingerman
                                               NICHOLAS KLINGERMAN
                                               Assistant Attorney General
                                               Criminal Division




ORIGINAL of the foregoing e-filed
This 16th day of July, 2024 with:

Clerk of the Court
Maricopa County Superior Court
175 West Madison Street
Phoenix, Arizona 85003

The Honorable Bruce Cohen
Maricopa County Superior Court

                                           4
      Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 154 of 263




COPY of the foregoing emailed
this 16th day of July, 2024 to:

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/s/ Krista Wood



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       Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 155 of 263
                                                                             Clerk of the Superior Court
                                                                             *** Electronically Filed ***
                                                                                07/17/2024 8:00 AM
                                SUPERIOR COURT OF ARIZONA
                                    MARICOPA COUNTY

 CR2024-006850-018 DT                                                   07/16/2024


                                                                CLERK OF THE COURT
 HONORABLE BRUCE R. COHEN                                           D. MacErnie
                                                                       Deputy



 STATE OF ARIZONA                                      NICHOLAS KLINGERMAN

 v.

 MARK MEADOWS (018)                                    ANNE M CHAPMAN

                                                       JUDGE BRUCE COHEN
                                                       VICTIM WITNESS DIV-AG-CCC




                  BRIEFING SCHEDULE FOR MOTIONS TO DISMISS

        Pending before the Court are motions to dismiss pursuant to ARS § 12-751. These
motions were either initiated by or joined with by many of the named defendants. It is noted that
there is a separate motion to dismiss filed by Defendant Lamon on other grounds.

        As set forth in the court’s minute entry of July 5, 2024 entitled “Preliminary Case
Management Order,” the parties are required to file a joint pleading entitled “Notice of Pending
Motions” by no later than August 1, 2024. As part of that pleading, those defendants who are
joining in the ARS § 12-751 motion to dismiss shall be identified to ensure that the any rulings
made thereon are properly applied to those specific defendants seeking this relief.

        The State filed pleadings entitled “Notice of Intent To File Response” and “Request For
Briefing Schedule.” In addressing this pleading, the court notes that ARS § 12-751(B) does not
require a responsive pleading “unless and until the court finds that the moving party has
established the prima facie proof” required and the court directs the filing of a responsive
pleading. Here, the State has indicated its intention to file a responsive pleading before being
directed to by the court. The State is focused on whether the prima facie showing can be
met. For that purpose, the court concludes that full briefing on this statutory threshold would be
of assistance to the court and in the interests of justice.



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                               SUPERIOR COURT OF ARIZONA
                                   MARICOPA COUNTY

 CR2024-006850-018 DT                                                  07/16/2024


       IT IS THEREFORE ORDERED granting to the State the right to file a responsive
pleading to the Motions to Dismiss pursuant to ARS § 12-751 on or before July 22, 2024. The
Response shall address facts and law that focus only Defendants’ prima facie proof component
of ARS § 12-751(B). If the court later finds that the prima facie showing required of Defendants
has been met, the court shall set a briefing schedule, argument and any required evidentiary
hearing to address additional provisions of ARS § 12-751(B)(1)(a), (b) and (c).

       IT IS FURTHER ORDERED that any Reply to the State’s Response shall be filed on or
before August 9, 2024.

        IT IS FURTHER ORDERED that absent any further orders of the Court, oral
argument/evidentiary hearing shall be held on August 26, 2024, as previously ordered, on the
issue of whether a prima facie showing pursuant to ARS § 12-751(B) has been established.

       IT IS FURTHER ORDERED that as to Defendant Lamon’s “Motion To Dismiss
Indictment Pursuant to Rule 16.4(b), U.S. Const. Art. II and VI, U.S. Const. Am I, V and XIV,
and Ariz. Const. Art. II, §§ 4 and 6 ” filed on June 24, 2024, the same briefing schedule detailed
above shall apply. Unless otherwise ordered, oral argument on this motion shall be held on
August 26, 2024.

        IT IS FURTHER ORDERED that the scope of the August 26, 2024 proceedings may be
further expanded or limited upon agreement of the parties and order of the Court.




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       Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 157 of 263
                                                                 Clerk of the Superior Court
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                                                                                     I. Osuna, Deputy
                                                                                  7/18/2024 3:37:26 PM
                                                                                    Filing ID 18177487
Prosecutor
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Telephone:  (602) 542-3881

Defense Counsel or Self-Represented Defendant
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Telephone:  (602) 358-0292

               IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                     IN AND FOR THE COUNTY OF MARICOPA

STATE OF ARIZONA,                                No. CR: CR2024-006850-018

                  Plaintiff,                     Commissioner Christina Henderson

v.                                               INITIAL PRETRIAL CONFERENCE
                                                 STATEMENT
MARK MEADOWS (018),
                                                 IPTC HEARING DATE: July 30, 2024
                  Defendant.
                                                 **Parties must file this statement 3 court
                                                 days before hearing date.**

                         REQUEST FOR APPEARANCE HEARING
Note: To request that the IPTC be an appearance hearing, file this statement no less than 3
court days before the IPTC date and email a courtesy copy to the IPTC Commissioner.
1. Is any party requesting an appearance hearing?                 ☐ Yes         ☒ No
     If yes, who is requesting the hearing?                       ☐ State       ☐ Defendant
2. Provide the basis for the requested hearing (e.g., missing disclosures, pending motions):


3. Does the Defendant want their presence waived?                 ☒ Yes         ☐ No
         Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 158 of 263




Case Status

The parties hereby avow to the Court that the following activities have occurred in this case
(check all that apply):
  ☒ Defense counsel and Defendant have been in communication.
  ☒ The State has complied with Rule 15.1, Ariz. R Crim. P.
  ☒ The Defendant has complied with Rule 15.2, Ariz. R Crim. P.
  ☒ There are no disclosure or discovery disputes at this time between the parties that require
    the Court’s involvement.
  ☐ There are no pending motions (including Notice of Change of Judge) before the court.

For any item(s) not checked above, please explain why and the parties’ plan for addressing these
issues:
Defendant Meadows and the State have been in contact about discovery. The State has been
working to answer any requests and questions by Defendant Meadows. There is no need for
court intervention at this time.
Defendant Meadows has a pending motion to associate counsel pro hac vice.
Defendant Meadows has a pending objection to the State’s Motion for Protective Order
regarding State Grand Jury transcripts and exhibits.

Plea Discussions

The status of plea negotiations is as follows (check applicable boxes):
 ☐ There is a written plea offer that expires on EXPIRATION DATE. The plea offer has been
    communicated in writing to: ☐ defense attorney / ☐ Defendant.
 ☒ A plea offer is forthcoming from State/being discussed/or a deviation request is pending.
 ☐ No plea offer will be made.
 ☐ A settlement conference has been held.

Hearing Dates

  ☐ Defendant has been advised of the upcoming hearing dates, including the Comprehensive
    Pre-Trial Conference (CPTC), the Final Trial Management Conference (FTMC), and Trial
    Dates.
  ☒ Victims’ Rights have been complied with (as applicable).
  ☐ The Court still needs to set the following hearing(s). (The hearings will be set via minute
    entry and defense counsel will need to file a declaration with the Court within 10 business
    days confirming that they have informed Defendant of the dates.)
    ☐ CPTC           ☐ FMTC          ☐ Trial




Page 2                                                                   IPTC Statement (rev 11/28/2022)
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Defendants with Multiple Cases / Codefendant Matters / Complex

  ☐ Defendant has multiple cases pending Maricopa County Superior Court. If checked, list all
    case numbers here (including probation violation matters):
  ☐ The State and Defendant agree to align all last days to the case listed above with the latest
    last day and align all hearing dates.
  ☐ Defendant agrees to waive Rule 8 time on all pending cases (to the extent necessary) to
    allow for last days to be aligned.
  ☒ This is a co-Defendant case. If checked, list the co-Defendant(s) name(s), assigned Case
    Management Judge(s), and next hearing date(s).

     Name                           Judge                     Next Hearing
     Kelli Ward (001)               Judge Bruce Cohen         CCSC August 26, 2024 @ 9am
     Tyler Bowyer (002)             Judge Bruce Cohen         CCSC August 26, 2024 @ 9am
     Nancy Cottle (003)             Judge Bruce Cohen         CCSC August 26, 2024 @ 9am
     Jacob Hoffman (004)            Judge Bruce Cohen         CCSC August 26, 2024 @ 9am
     Anthony Kern (005)             Judge Bruce Cohen         CCSC August 26, 2024 @ 9am
     James Lamon (006)              Judge Bruce Cohen         CCSC August 26, 2024 @ 9am
     Robert Montgomery (007)        Judge Bruce Cohen         CCSC August 26, 2024 @ 9am
     Samuel Moorhead (008)          Judge Bruce Cohen         CCSC August 26, 2024 @ 9am
     Lorraine Pellegrino (009)      Judge Bruce Cohen         CCSC August 26, 2024 @ 9am
     Gregory Safsten (010)          Judge Bruce Cohen         CCSC August 26, 2024 @ 9am
     Michael Ward (011)             Judge Bruce Cohen         CCSC August 26, 2024 @ 9am
     Rudolph Giuliani (012)         Judge Bruce Cohen         CCSC August 26, 2024 @ 9am
     John Eastman (013)             Judge Bruce Cohen         CCSC August 26, 2024 @ 9am
     Boris Epshteyn (014)           Judge Bruce Cohen         CCSC August 26, 2024 @ 9am
     Jenna Ellis (015)              Judge Bruce Cohen         CCSC August 26, 2024 @ 9am
     Christina Bobb (016)           Judge Bruce Cohen         CCSC August 26, 2024 @ 9am
     Michael Roman (017)            Judge Bruce Cohen         CCSC August 26, 2024 @ 9am

  ☐ The parties intend to file a request for the Court to designate this case as complex by Click
    or tap to enter a date.:

Prosecutor                                        Defense Counsel or
                                                  Self-Represented Defendant

Signature: /s/ Nicholas Klingerman               Signature: /s/ Anne Chapman

Name: Nicholas Klingerman                        Name: Anne Chapman

Date Submitted: July 18, 2024




Page 3                                                                   IPTC Statement (rev 11/28/2022)
       Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 160 of 263
                                                                                    Clerk of the Superior Court
                                                                                    *** Electronically Filed ***
                                                                                       07/19/2024 8:00 AM
                                 SUPERIOR COURT OF ARIZONA
                                     MARICOPA COUNTY

 CR2024-006850-018 DT                                                         07/18/2024


                                                                      CLERK OF THE COURT
 HONORABLE BRUCE R. COHEN                                                 D. MacErnie
                                                                             Deputy



 STATE OF ARIZONA                                           NICHOLAS KLINGERMAN

 v.

 MARK MEADOWS (018)                                         ANNE M CHAPMAN

                                                            JUDGE BRUCE COHEN
                                                            VICTIM WITNESS DIV-AG-CCC




ORDER RE: BRIEFING AND ARGUMENT ON ANTI-SLAPP MOTIONS TO DISMISS
             ORDER PERMITTING VIRTUAL APPEARANCES

       This court previously issued scheduling orders. Before and since those orders were
entered, the parties have filed a variety of motions, some of which address briefing schedules. This
court has reviewed its prior orders as well as the pleadings from the parties and from that, has
concluded that there a number of proposed schedules that have been communicated and that could
become the source of confusion and delay.

         Many of the Defendants have filed for dismissal pursuant to ARS Section 12-751 or have
joined in the motion filed by others. The statute was enacted to ensure that a party is not subjected
to litigation brought for the purpose of impacting that party’s constitutionally protected right to
free speech, press, and assembly. By its nature, it is an issue that requires timely intervention.

        For the purpose of developing a briefing schedule and oral argument, the court makes
particular note of the provisions of subsection B of the statute. It provides:
            B. A person who files a motion pursuant to subsection A of this section has the
            burden of establishing prima facie proof that the legal action was substantially
            motivated by a desire to deter, retaliate against or prevent the lawful exercise of
            a constitutional right. The moving person may submit evidence based on the
            record, a sworn affidavit or other evidence that is submitted with the motion to
            dismiss or quash. A party is not required to file a response to a motion filed

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                                 SUPERIOR COURT OF ARIZONA
                                     MARICOPA COUNTY

 CR2024-006850-018 DT                                                           07/18/2024


            pursuant to subsection A of this section unless and until the court finds that the
            moving party has established the prima facie proof and orders the party to file a
            response. The court shall grant the motion unless one of the following applies:
            1. If the responding party is a state actor, the responding party shows that the
            legal action on which the motion is based is justified by clearly established law
            and that the responding party did not act in order to deter, prevent or retaliate
            against the moving party's exercise of constitutional rights. A state actor may
            satisfy the requirements of this paragraph by doing any of the following:
            (a) Establishing that the person who initiated and conducted an investigation that
            resulted in the legal action and that made the decision to pursue the legal action
            was unaware of the movant's lawful exercise of the constitutional right.
            (b) Establishing that the state actor has a consistent practice of pursuing similar
            legal actions against similarly situated persons who did not lawfully exercise
            constitutional rights.
            (c) Producing any other evidence that the court finds sufficient.
        The statute provides for two separate and distinct determinations. At this time, the court
is focused on the first of the two; that being, whether the Defendants have established prima facie
proof that “…the legal action was substantially motivated by a desire to deter, retaliate against or
prevent the lawful exercise of a constitutional right.” For this determination, the court is not
required to seek a responsive pleading from the State. Yet in the interests of justice, this Court has
ordered that the State may file a responsive pleading focused only on this first prong of the
statute. If and only if the court finds that the prima facie showing has been met by Defendants,
the court then turns to subsection (B)(1)(a), (b) and (c) of ARS Section 12-751.

        The statute does not require the court to allow for oral argument or the presentation of
evidence. It authorizes the determination to be made based upon the court record and supportive
affidavits. Here, the record has not been developed and based thereon, the court is extending to
Defendants a full opportunity to meet their burden of proof and is allowing the State to respond in
opposition thereto. That is one of the purposes of the hearing set for August 26, 2024. If this court
were now to extend further the threshold determination (as is sought by the State in their Amended
Notice of Intent” that was filed on July 16, 2024 and apparently agreed to by at least some of the
named defendants), the motion to dismiss will be delayed by months.

       Based upon the foregoing, the Court is settling on the following schedule during these
preliminary stages of the litigation:




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                               SUPERIOR COURT OF ARIZONA
                                   MARICOPA COUNTY

 CR2024-006850-018 DT                                                    07/18/2024


                                         August 1, 2024

       As ordered in the minute entry of July 5, 2024, the parties shall confer and create a joint
pleading entitled “Notice of Pending Motions.” It shall be filed no later than August 1, 2024. The
pleading shall include the following:

      Identification of each pending motion before the court, including the names of the specific
       defendants who are the subject of the motion or who have joined in the motion. Further,
       the notice shall include a statement as to whether the motion is fully briefed and, if not, by
       what date it shall be fully briefed.
      Whether the motion can be decided based on the pleadings filed or whether oral argument
       is sought. If there is to be oral argument, the court will assume that the oral argument shall
       be conducted on August 26, 2024 unless otherwise requested by the parties. If any motion
       requires an evidentiary hearing, the parties shall detail the scope of the hearing, the
       anticipated length of time needed for the hearing, and whether it may be conducted as part
       of the August 26, 2024 proceedings. The notice shall further identify which specific
       defendants are subject to each pending motion.
      Identification of any motions that are now moot given the orders contained herein.
      A list of other motions that are anticipated to be filed within the following 90 days so that
       appropriate scheduling can be addressed at the CCSC.

                                         August 5, 2024

       Replacing prior scheduling orders, the State may file its responsive pleading to the Anti-
Slapp motions to dismiss on or before August 5, 2024. The response shall be limited to the
threshold determination of whether a prima facie showing has been made by Defendants, as
contemplated under ARS Section 12-751(B).

                                         August 19, 2024

       To the extent that any Defendant wishes to file a Reply in support of whether the Anti-
Slapp motions to dismiss are sufficient to meet the burden of proof threshold, defendants may do
so on or before August 19, 2024.




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                                SUPERIOR COURT OF ARIZONA
                                    MARICOPA COUNTY

 CR2024-006850-018 DT                                                    07/18/2024


                                         August 26, 2024

         This is the date presently set for the Complex Case Scheduling Conference. As part of this
Conference, the court shall work with the parties to develop a meaningful and viable pretrial and
trial schedule.

        Further, there shall be oral argument on the issue of whether Defendants have met their
prima facie burden of proof for the Anti-Slapp motions to dismiss. The Court shall then either
rule in open court or may take that issue under advisement. If the court does not decide the
threshold question under ARS Section 12-751 at the end of oral argument or if the court finds that
the burden of proof has been met, a hearing schedule shall be developed to address the second
prong of the statute. This will ensure that if the prima facie showing is established either at the
Conference or as found in a later-issued ruling, there is an agreed-upon schedule for the next stage
in the proceedings.

        The Court shall also review with counsel the issues identified in the “Notice of Pending
Issues” required from the parties by August 1, 2024. To the extent that the issues are fully briefed,
they may also be addressed at the Conference. If they are not fully briefed or if they require an
evidentiary hearing or additional time, a schedule shall be developed for those matters to be heard.

        The Court notes that there are other motions to dismiss that have been filed. The full
briefing schedule on all such motions (other than the Anti-Slapp motions) shall be finalized at the
Conference.

         The Court has received requests from some defendants for their appearances to be waived
or for them to be allowed to appear virtually. No waiver of appearance is granted. Each defendant
must participate in the August 26 proceedings.

        The issue left to be decided relates to whether any non-Arizona resident defendants may
appear virtually rather than in person. The August 26th proceedings will not be limited merely to
developing a schedule. This court intends to address as many substantive issues as possible.
Proceedings of this nature are facilitated when all parties are present, in-person. But while this
court is disinclined to allow for appearances to be through a virtual platform, the court also
recognizes the costs associated with travelling to Arizona for this hearing.

       Accordingly, but only as to any Defendant who does not reside in Arizona,

        IT IS ORDERED that said Defendant(s) may appear virtually for the August 26, 2024
proceedings. Each such Defendant shall ensure that they are at a location that is private and not
subject to interference or outside activity.
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                               SUPERIOR COURT OF ARIZONA
                                   MARICOPA COUNTY

 CR2024-006850-018 DT                                                 07/18/2024



       IT IS FURTHER ORDERED that Mr. Wilenchik may appear virtually on behalf of
Defendant Lamon, as he requests in the recently filed motion. This authorization is based upon
the understanding that co-counsel for Defendant Lamon will be appearing in-person at the hearing.

        The Court notes that for subsequent Complex Case Management Conferences, this court
often allows for virtual appearances or for non-appearance conferences. This shall be addressed
further at the CCSC.




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     Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 165 of 263
                                                               Clerk of the Superior Court
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                                                                            M. Yelverton, Deputy
                                                                           7/22/2024 1:43:24 PM
                                                                             Filing ID 18191093

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 6   Facsimile: (602) 358-0291
 7
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 9
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10   *Pro Hac Vice
11
     Attorneys for Defendant Mark Meadows
12
                  IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
13
14                        IN AND FOR THE COUNTY OF MARICOPA
15
     STATE OF ARIZONA,                          )   Case No. CR2024-006850-018
16                                              )
                  Plaintiff,                    )
17
                                                )
18   v.                                         )   OF JOINDER IN
                                                )   TO DISMISS INDICTMENT
19
     MARK MEADOWS (18),                         )   PURSUANT TO A.R.S. § 12-751.
20                                              )
                  Defendant.                    )
21
                                                )
22
23         Mr. Meadows, through counsel, and pursuant to A.R.S. § 12-751, hereby joins in
24   the Motion to Dismiss Indictment Pursuant to A.R.S. § 12-751 filed by Mr. Lamon. Mr.
25                                                                   .
26         To the extent he had any involvement concerning the alternate slate of electors,
27   Mr. Meadows involvement was in his role as Chief of Staff to the President. Mr.
28   Meadows received communications directed to him in his role as Chief of Staff. These
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 1   communications from legislators, State Party Representatives, and others, to Mr.
 2   Meadows in his role as Chief of Staff, were efforts to petition the government for the
 3   redress of grievances. The right of those individuals to so petition the government are
 4   protected by the First Amendment to the United States Constitution, incorporated against
 5   the states by the Fourteenth Amendment. U.S. Const. Am. I and XIV. The Arizona
 6   Constitution likewise protects the right of petition. Ariz. Const. Art. 2 § 5.
 7                                     persuasively demonstrates, this criminal prosecution
 8   involves the lawful exercise of the rights of petition, the right of speech, and the right to
 9   freely associate, protected by the United States Constitution and the Arizona
10   Constitution. A defendant need only present prima facia proof that the criminal
11
12                                                           A.R.S. § 12-751(B). Once the
13                                                                                       is able to
14   prove that (                                                                        and (2)
15   the State did not bring the prosecution to deter, prevent or retaliate against the moving
16                                               A.R.S. §12-751(B)(1). Here, the evidence is
17   overwhelming that the prosecution was brought to retaliate against the lawful exercise of
18   constitutional rights and to deter the exercise of those rights in the future; and the State is
19   unable to show that its novel and unprecedented theories are justified by clearly
20   established law. Under this test, the Indictment must be dismissed.
21          RESPECTFULLY SUBMITTED this 22nd day of July, 2024.
22
23                                       MITCHELL | STEIN | CAREY | CHAPMAN, PC

24                                       By:     /s/ Anne Chapman
25                                               Anne Chapman
                                                 Lee Stein
26                                               George J. Terwilliger III*
27                                               * Pro Hac Vice
                                                 Attorneys for Defendant Mark Meadows
28



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     Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 167 of 263




 1   ORIGINAL of the foregoing E-FILED
     this 22nd day of July, 2024 with:
 2
 3   Clerk of the Superior Court
     Maricopa County Superior Court
 4
 5   COPY of the foregoing DELIVERED VIA E-FILING
     this 22nd day of July, 2024 to:
 6
 7   Nicholas Klingerman, Esq.
     Assistant Attorney General
 8
     Arizona Attorney General's Office
 9   2005 N. Central Avenue
     Phoenix, AZ 85004
10
     nicholas.klingerman@azag.gov
11   krista.wood@azag.gov
     crmfraud@azag.gov
12
13   Attorneys for Plaintiff
14
      /s/ PLMcClellan
15
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      Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 169 of 263
                                                                Clerk of the Superior Court
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                                                                          T. Alameda, Deputy
                                                                        7/23/2024 11:58:39 AM
                                                                          Filing ID 18198899
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crmfraud@azag.gov
Attorneys for Plaintiff

              IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

                    IN AND FOR THE COUNTY OF MARICOPA

STATE OF ARIZONA,                            Cause No.   CR2024006850-001
                                                         CR2024006850-002
              Plaintiff,                                 CR2024006850-003
v.                                                       CR2024006850-004
                                                         CR2024006850-005
KELLI WARD (001),                                        CR2024006850-006
TYLER BOWYER (002),                                      CR2024006850-007
NANCY COTTLE (003),                                      CR2024006850-008
JACOB HOFFMAN (004),                                     CR2024006850-009
ANTHONY KERN (005),                                      CR2024006850-010
JAMES LAMON (006),                                       CR2024006850-011
ROBERT MONTGOMERY (007),                                 CR2024006850-012
SAMUEL MOORHEAD (008),                                   CR2024006850-013
LORRAINE PELLEGRINO (009),                               CR2024006850-014
GREGORY SAFSTEN (010),                                   CR2024006850-015
MICHAEL WARD (011),                                      CR2024006850-016
RUDOLPH GIULIANI (012),                                  CR2024006850-017
JOHN EASTMAN (013),                                      CR2024006850-018
BORIS EPSTHEYN (014),
JENNA ELLIS (015),
                                             PLAINTIFF’S RULE 15.1
CHRISTINA BOBB (016),                        THIRD SUPPLEMENTAL
MICHAEL ROMAN (017),                         DISCLOSURE
MARK MEADOWS (018),

              Defendants.                    Hon. Bruce Cohen




                                         1
      Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 170 of 263




       The State, pursuant to Arizona Rule of Criminal Procedure 15.1, makes

available the following material and information. All of the materials subject to

disclosure, presently in the State’s possession, are referenced in this document.

Additional disclosure, if any, will be made available as received, in accordance with

Rule 15.6. Any such disclosure may be used in the State’s case-in-chief or as rebuttal

evidence in this case.

       1.     Disclosure Materials

       The following disclosure materials have been uploaded to the AG Fileshare

server and are available for downloading:

EXHIBITS:                                                           BATES No.:

MARICOPA COUNTY BOS PRODUCTION
MC-AG_ 000001 - MC-AG_002748
  Emails
    Donald Trump                                                    035052-035709




                                            2
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                                3
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                                4
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                                5
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                                7
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Federal Appeals                                      035710-035713




Thomas More                                          035714-035760




ZDeleted Items                                       035761-035791




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j6 PRR 1512 11-23-2021
    Combined – Sent to Select Committee                035792-036252




                                      9
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                               10
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                               11
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                               12
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                               13
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Combined Texts – Sent to Select Comm                 036253-036375
  1




                                14
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   2                                                 036376-036769




                               16
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                               17
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Jen Fifield PRR 1080                                 036770-036815




                               18
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Linda So PRR 1329                                    036816-037138




                               19
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                               20
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                               21
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Rosalind Helderman PRR 1294                          037139-037181




                               22
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Yvonne’s PRR 1079
  Chucri                                             037182-037207




   Gates                                             037208-037221




                               23
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   Hickman                                           037222-037285




                               24
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 193 of 263




   Sellers                                           037286-037304


Yvonne’s PRR 1140 and 1141
  Emails
     Chucri                                          037305-037328




                               25
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 194 of 263




      Gallardo                                       037329-037343




      Gates                                          037344-037382




      Hickman                                        037383-037388



      Sellers                                        037389-037401




                               26
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 195 of 263




Texts
   Chucri                                            037402-037416

   Gates                                             037417-037437




   Hickman                                           037438-037727

   Sellers                                           037728-037762




                               27
    Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 196 of 263




MC-AG_002749 - MC-AG_023089
  Emails
    D1-Sellers
        Bohan
          Inbox 1                                        037763-037895




          Inbox 2                                        037896-038269




                                   28
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 197 of 263




      Inbox COB emails                               038270-038271


      Inbox Communities                              038272-038273

      Inbox Covid 19 1                               038274-038302

      Inbox Covid 19 2                               038303-038354


      Inbox Covid 19 Fields 1                        038355-038539




      Inbox Covid 19 Fields 2                        038540-038696




      Inbox Election nonsense 1                      038697-038715




                                  29
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 198 of 263




      Inbox Election nonsense 2                      038716-038747




      Inbox Elections                                038748-038784



      Inbox GR Email                                 038785

      Inbox P3 Covit Files Updates                   038786

      Sent 1                                         038787-038790




                                     30
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 199 of 263




      Sent 2                                         038791-038797




   Sellers
      Archive 1                                      038798-038818




      Archive 2                                      038819-038891




                               31
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 200 of 263




      Deleted 1                                      038892-038897

      Inbox COB Exec Emails                          038898-038909

      Inbox Covid 19 1                               038910-038938

      Inbox Covid 19 2                               038939-038967

      Inbox Covid 19 JIC Covid Updates 1             038968-038988

      Inbox Covid 19 JIC Covid Updates 2             038989-039021


      Inbox CSA                                      039022-039023




                                 32
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 201 of 263




      Inbox Daily Covid Updates                      039024-039094




      Inbox Elections                                039095-039103




      Inbox Elections Recount Votes 1                039104-039160




                                  33
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 202 of 263




      Inbox Elections Recount Votes 2                039161-039218




      Inbox Mandatory Face Masks 1                   039219-039220




                                  34
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 203 of 263




      Inbox Mandatory Face Masks 2                   039221-039222

      Inbox NACO 1                                   039223-039242

      Inbox NACO 2                                   039243-039262

      Inbox News Clips 1                             039263-039502




      Inbox News Clips 2                             039503-040033




                                35
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 204 of 263




      Inbox Rose Law Group Newsletter                040034-040038

      Inbox State Transp Board Law 360 New           040039-040044

D2-Chucri
  Chucri
     Drafts 1                                        040045-040049

      Drafts 2                                       040050-040054

      Inbox 1                                        040055-041517




                                36
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 205 of 263




                               37
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                               38
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      Inbox 2                                        041518-041815




                               39
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      Inbox 2020 General Election 1                  041816-041820


      Inbox 2020 General Election 2                  041821-041823

      Inbox Election Emails 1                        041824-042208




                                  40
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                               41
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      Inbox Election Emails 2                        042209-042382




                                42
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      Inbox Mask Mandates 1                          042383-042398



      Inbox Mask Mandates 2                          042399-042400




                               43
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      Purges 1                                       042401-042409


      Purges 2                                       042410-042415



      Versions 2                                     042416-042438




      Versions 2                                     042439-042448


   Gonzales
     Inbox 1                                         042449-042854




                               44
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 213 of 263




      Inbox 2                                        042855-044442




                               45
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                               46
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                               47
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      Purges 1                                       044443-044444

      Purges 2                                       044445

      Sent 1                                         044446-044458


      Sent 2                                         044459-044566




                               48
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 217 of 263




      Versions 1                                     044567-044575

D3-Gates
  Gates
     Deleted 1                                       044576-044604

      Deleted 2                                      044605-045015




                               49
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 218 of 263




      Inbox 1                                        045016-045308




      Inbox 2                                        045309-046122




                               50
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                               51
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 220 of 263




      Purges                                         046123-046146




      Sent 1                                         046147

      Sent 2                                         046148-046168




                               52
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 221 of 263




   Schira
      Archive                                        046169-046273




      Inbox 1                                        046274-046626




                               53
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 222 of 263




   Inbox 2                                           06627-047806




                               54
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                               55
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                               56
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      Inbox 2020 Election Comments 1                 047807

      Inbox 2020 Election Comments 2                 047808

      Inbox Archive Issues Brian Duffy               047809-047818


      Inbox Old                                      047819-047853


      Purges                                         047854-047873




      Sent 1                                         047874-047875

      Sent 2                                         047876-047888




                                  57
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 226 of 263




      Versions                                       047889-047900

D4-Hickman
  Hickman
      Election 1                                     047901-048026




                               58
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                               59
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      Election 2                                     048027-048138




                               60
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 229 of 263




      Election District 4 1                          048139-048143




      Election District 4 2                          048144-048145

      Inbox 1                                        048146-048512




                               61
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 230 of 263




      Inbox 2                                        048513-048760




      Inbox 2020 1                                   048761-049612




                               62
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                               63
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 232 of 263




      Inbox 2020 2                                   049613-049689




      Inbox 2020 Mask Mandate 1                      049690-049691

      Inbox 2020 Mask Mandate 2                      049692-049693

      Inbox 2021 1                                   049694-049714


      Inbox 2021 2                                   049715-049744


      News Clips for County 1                        049745-049769

      News Clips for County 2                        049770-049794

      Purges 1                                       049795-051300




                                  64
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 233 of 263




                               65
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                               66
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                               69
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      Purges 2                                       051301-051613




                               70
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 239 of 263




      Versions 1                                     051614-051618




                               71
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 240 of 263




   Isham
      Archive 1                                      051619

      Archive 2                                      051620

      Deleted Items                                  051621-051622

      Deleted Items 2                                051623

      Inbox 1                                        051624-052189




                               72
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 241 of 263




      Inbox 2                                        052190-052317




      Purges 1                                       052318-053795




                               73
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 242 of 263




                               74
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                               75
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                               77
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      Purges 2                                       053796-054127




                               78
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 247 of 263




      Sent 1                                         054128-054164




D5-Gallardo
  Arzaga
     Archive 1                                       054165-054184



                               79
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 248 of 263




      Archive 2                                      054185-054204

      Deleted Items                                  054205-054212

      Inbox 1                                        054213-054354




      Inbox 2                                        054355-055038




                               80
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 249 of 263




                               81
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 250 of 263




      Purges 1                                       055039-055516




      Purges 2                                       055517-056287




                               82
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                               83
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 252 of 263




      Sent 1                                         056288-056294




      Sent 2                                         056295-056301




      Sync Issues 1                                  056302

      Versions 1                                     056303-056315




   Gallardo
      Purges 1                                       056316-057708




                               84
Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 253 of 263




                               85
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                               86
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      Purges 2                                       057709-058067




Texts
   Hickman Texts with Drew Sexton                    058068-058071




                                87
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         Hickman Texts with Jeff Dewitt                     058072-058079




         Hickman Texts with Wm Crozer of the Trump Campaign 058080-058086




         Giuliani - Trump White House voicemails to Board   058087-058091




MC-AG_023090 - MC-AG_026026
  B Gates                                                   058092-059981




  C Hickman                                                 059982-060586




  J Sellers                                                 0060587-061016




                                          88
      Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 257 of 263




   S Chucri                                                           061017-061020




   MC-AG_026019-MC-AG_026026                                          061021-061028

MC-AG_000001 - 26026 Production Index                                 061029-061129


       2.     State’s Request for Disclosure

       The State requests all disclosure required under Arizona Rule of Criminal

Procedure 15.2(a)(1)(A)(H) and (e)(7)(A)-(B).

       3.     Continuing Disclosure

       The State will continue to disclose evidence and/or witnesses it plans to use

at the trial in this matter, as required pursuant to Rule 15.6.

       RESPECTFULLY SUBMITTED this 23rd day of July, 2024.

                                            KRISTIN K. MAYES
                                            Attorney General


                                            /s/Nicholas Klingerman
                                            NICHOLAS KLINGERMAN
                                            Assistant Attorney General


Original of the foregoing e-filed this
23rd day of July, 2024, via:

Maricopa County Superior Court
efilingonline.clerkofcourt.maricopa.gov




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      Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 258 of 263




A copy of the foregoing document
emailed, with attachments made available
via the AG fileshare server, this 23rd
day of July, 2024, to:

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info@brownandlittle.com                       lmcondado3@gmail.com
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                                             90
      Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 259 of 263




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 Verification of True and Complete Copies




                               Attachment 6
     Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 261 of 263




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     Lee Stein (#012368)
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 4   kathy@mscclaw.com
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11
     *Pro Hac Vice
12
     Attorneys for Mark Meadows
13
14                       IN THE UNITED STATED DISTRICT COURT
15                                FOR THE DISTRICT OF ARIZONA
16
     State of Arizona,                           No. _________________________
17
18                Plaintiff,
                                                 LRCIV 3.6 VERIFICATION OF
19         v.                                    MOVING PARTY THAT TRUE
20                                               AND COMPLETE COPIES OF
     Mark Meadows,                               ALL PLEADINGS AND OTHER
21                                               DOCUMENTS FILED IN THE
22                Defendant.                     STATE COURT PROCEEDINGS
                                                 HAVE BEEN FILED
23
24         In accordance with LRCiv 3.6(b), I hereby verify that true and complete copies of
25   all pleadings and other documents filed in the state court proceeding in Case No.
26
27   //
28   //
     Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 262 of 263




 1   CR2024-006850-018, Superior Court of Arizona, in and for the County of Maricopa, are
 2   attached to the Notice of Removal filed in this case.
 3          RESPECTFULLY SUBMITTED on July 26, 2024.
 4
 5                                         MITCHELL | STEIN | CAREY | CHAPMAN, PC

 6
                                           By:    /s/ Anne Chapman
 7                                                Anne Chapman
 8                                                Lee Stein
                                                  Kathleen E. Brody
 9                                                George J. Terwilliger III*
10                                                * Pro Hac Vice

11                                                Attorneys for Defendant Mark Meadows
12
13
14
15                                  CERTIFICATE OF SERVICE
16
            I hereby certify that on July 26, 2024, I electronically transmitted the attached
17
     Verification with the Clerk of the Court using the CM/ECF System, which will send
18
     notification of filing to all registered parties.
19
20
21
22
23                                                         Peggy McClellan
24
25
26
27
28



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Case 2:24-cv-02063-JJT Document 1-2 Filed 08/14/24 Page 263 of 263




     DOCUMENT SUBMITTED UDER SEAL
      See Defendant’s Motion for Leave to File
   Attachment 7 to Notice of Removal Under Seal




                               Attachment 7
